                                    Case 6:19-bk-05155-KSJ                            Doc 14         Filed 06/29/18         Page 1 of 86
 Fill in this information to identify your case and this filing:

  Debtor 1                    Diego                   L                      Ospina
                             First Name              Middle Name            Last Name

  Debtor 2                    Maria                   C                      Ospina-Arbelaez
  (Spouse, if filing)        First Name              Middle Name            Last Name

  United States Bankruptcy Court for the:                               Middle District of Florida
                                                                                                                                                ❑Check if this is an
  Case number                         6:18-bk-03304                                                                                                amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
     ❑ No. Go to Part 2.
     ✔ Yes. Where is the property?
     ❑
     1.1     205 Robin Lee Road                                    What is the property? Check all that apply.           Do not deduct secured claims or exemptions. Put the
           Street address, if available, or other
           description
                                                                   ✔ Single-family home
                                                                   ❑                                                     amount of any secured claims on Schedule D:
                                                                   ❑ Duplex or multi-unit building                       Creditors Who Have Claims Secured by Property.
                                                                   ❑ Condominium or cooperative                         Current value of the           Current value of the
                                                                   ❑ Manufactured or mobile home                        entire property?               portion you own?
             Oviedo, FL 32765                                      ❑ Land                                                           $225,821.00                   $225,821.00
           City                         State       ZIP Code       ❑ Investment property
                                                                   ❑ Timeshare                                          Describe the nature of your ownership interest (such
                                                                                                                        as fee simple, tenancy by the entireties, or a life
                                                                   ❑ Other                                              estate), if known.
           County
                                                                   Who has an interest in the property? Check one.
                                                                                                                         Homestead
                                                                   ❑ Debtor 1 only
                                                                   ❑ Debtor 2 only
                                                                   ✔ Debtor 1 and Debtor 2 only
                                                                   ❑                                                    ❑ Check if this is community property
                                                                   ❑ At least one of the debtors and another
                                                                                                                           (see instructions)




    If you own or have more than one, list here:

     1.2     539 Tabatha Dr                                        What is the property? Check all that apply.           Do not deduct secured claims or exemptions. Put the
           Street address, if available, or other
           description
                                                                   ✔ Single-family home
                                                                   ❑                                                     amount of any secured claims on Schedule D:
                                                                   ❑ Duplex or multi-unit building                       Creditors Who Have Claims Secured by Property.
                                                                   ❑ Condominium or cooperative                         Current value of the           Current value of the
                                                                   ❑ Manufactured or mobile home                        entire property?               portion you own?
             Osteen, FL 32764                                      ❑ Land                                                             unknown                       unknown
           City                         State       ZIP Code       ❑ Investment property
                                                                   ❑ Timeshare                                          Describe the nature of your ownership interest (such
                                                                                                                        as fee simple, tenancy by the entireties, or a life
             Volusia
           County
                                                                   ❑ Other                                              estate), if known.
                                                                   Who has an interest in the property? Check one.
                                                                                                                         Land Trust
                                                                   ❑ Debtor 1 only
                                                                   ❑ Debtor 2 only
                                                                   ✔ Debtor 1 and Debtor 2 only
                                                                   ❑                                                    ❑ Check if this is community property
                                                                   ❑ At least one of the debtors and another
                                                                                                                           (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:
                                                                   Lien paid by the Land Trust




Official Form 106A/B                                                                  Schedule A/B: Property                                                        page 1
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                                                                                                                     Case number (if known)
 Debtor 2                      Maria                   C                       Ospina-Arbelaez                         6:18-bk-03304
                               First Name              Middle Name              Last Name



   1.3      0 Tropicana Dr                                   What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put the
         Street address, if available, or other
         description                                         ❑ Single-family home                                amount of any secured claims on Schedule D:
                                                             ❑ Duplex or multi-unit building                     Creditors Who Have Claims Secured by Property.
                                                             ❑ Condominium or cooperative                      Current value of the        Current value of the
                                                             ❑ Manufactured or mobile home                     entire property?            portion you own?
            Indian Lake Estates, FL 33855                    ✔ Land
                                                             ❑                                                               unknown                    unknown
         City                         State       ZIP Code   ❑ Investment property
                                                             ❑ Timeshare                                       Describe the nature of your ownership interest (such
                                                                                                               as fee simple, tenancy by the entireties, or a life
            Polk
         County
                                                             ❑ Other                                           estate), if known.
                                                             Who has an interest in the property? Check one.
                                                                                                               Vacant Land
                                                             ❑ Debtor 1 only
                                                             ❑ Debtor 2 only
                                                             ✔ Debtor 1 and Debtor 2 only
                                                             ❑                                                 ❑ Check if this is community property
                                                             ❑ At least one of the debtors and another
                                                                                                                   (see instructions)



   1.4                                                       What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put the
         Street address, if available, or other
                                                             ❑ Single-family home                                amount of any secured claims on Schedule D:
                                                             ❑ Duplex or multi-unit building
         description
                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                             ❑ Condominium or cooperative                      Current value of the        Current value of the
                                                             ❑ Manufactured or mobile home                     entire property?            portion you own?
            Miami Beach, FL                                  ❑ Land                                                          unknown                    unknown
         City                         State       ZIP Code   ❑ Investment property
                                                             ✔ Timeshare
                                                             ❑                                                 Describe the nature of your ownership interest (such
                                                                                                               as fee simple, tenancy by the entireties, or a life
                                                             ❑ Other                                           estate), if known.
         County
                                                             Who has an interest in the property? Check one.
                                                                                                               Newport Miami Beach Timeshare
                                                             ❑ Debtor 1 only
                                                             ❑ Debtor 2 only
                                                             ✔ Debtor 1 and Debtor 2 only
                                                             ❑                                                 ❑ Check if this is community property
                                                             ❑ At least one of the debtors and another
                                                                                                                   (see instructions)



   1.5                                                       What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put the
         Street address, if available, or other
                                                             ❑ Single-family home                                amount of any secured claims on Schedule D:
                                                             ❑ Duplex or multi-unit building
         description
                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                             ❑ Condominium or cooperative                      Current value of the        Current value of the
                                                             ❑ Manufactured or mobile home                     entire property?            portion you own?
            Cancun,                                          ❑ Land                                                          unknown                    unknown
         City                         State       ZIP Code   ❑ Investment property
                                                             ❑ Timeshare                                       Describe the nature of your ownership interest (such
                                                                                                               as fee simple, tenancy by the entireties, or a life
                                                             ❑ Other                                           estate), if known.
         County
                                                             Who has an interest in the property? Check one.
                                                                                                               Timeshare- Cancun
                                                             ❑ Debtor 1 only
                                                             ❑ Debtor 2 only
                                                             ✔ Debtor 1 and Debtor 2 only
                                                             ❑                                                 ❑ Check if this is community property
                                                             ❑ At least one of the debtors and another
                                                                                                                   (see instructions)




Official Form 106A/B                                                              Schedule A/B: Property                                                page 2
 Debtor 1
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 Debtor 2                              Maria                        C                                Ospina-Arbelaez                                                6:18-bk-03304
                                       First Name                    Middle Name                      Last Name



      1.6     316 Groveland St                                                What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description                                                    ❑ Single-family home                                                          amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the          Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?              portion you own?
              Orlando, FL 32804                                              ❑ Land                                                                                    unknown                      unknown
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such

                                                                             ✔ Other
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
              Orange
              County
                                                                             ❑                                                                           estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                                                                                                           Business Bldg. held through Doc's Choice LLC
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                            ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)



 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜        $225,821.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                    page 3
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 Debtor 2                        Maria             C                        Ospina-Arbelaez                              6:18-bk-03304
                                 First Name        Middle Name              Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     ❑ No
     ✔ Yes
     ❑
     3.6 Make:                           Suzuki          Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put the
                                         VL             ❑ Debtor 1 only                                            amount of any secured claims on Schedule D:
            Model:
                                                        ❑ Debtor 2 only                                            Creditors Who Have Claims Secured by Property.
                                         2005           ✔ Debtor 1 and Debtor 2 only
                                                        ❑                                                         Current value of the       Current value of the
                                                        ❑ At least one of the debtors and another
            Year:
                                                                                                                  entire property?           portion you own?
            Approximate mileage:                                                                                                $2,750.00                 $2,750.00
            Other information:                          ❑Check if this is community property (see
                                                            instructions)
            VIN: JS1VS55A752103064




    If you own or have more than one, list here:

     3.7 Make:                           Chevy           Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put the
                                         Captiva        ❑ Debtor 1 only                                            amount of any secured claims on Schedule D:
            Model:
                                                        ❑ Debtor 2 only                                            Creditors Who Have Claims Secured by Property.
                                         2014           ✔ Debtor 1 and Debtor 2 only
                                                        ❑                                                         Current value of the       Current value of the
                                                        ❑ At least one of the debtors and another
            Year:
                                                                                                                  entire property?           portion you own?
            Approximate mileage:                                                                                                $8,200.00                 $8,200.00
            Other information:                          ❑Check if this is community property (see
                                                            instructions)
            VIN: 3GNAL4EKS555703




     3.1 Make:                           Dodge           Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put the
                                         Ram (Lease)    ❑ Debtor 1 only                                            amount of any secured claims on Schedule D:
            Model:
                                                        ❑ Debtor 2 only                                            Creditors Who Have Claims Secured by Property.
                                         2016           ✔ Debtor 1 and Debtor 2 only
                                                        ❑                                                         Current value of the       Current value of the
                                                        ❑ At least one of the debtors and another
            Year:
                                         60,000                                                                   entire property?           portion you own?
            Approximate mileage:                                                                                                    $1.00                      $1.00
            Other information:                          ❑Check if this is community property (see
                                                            instructions)
            VIN: 1C6RR7PT9G8419329




Official Form 106A/B                                                          Schedule A/B: Property                                                      page 4
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 Debtor 2                        Maria               C                      Ospina-Arbelaez                             6:18-bk-03304
                                 First Name          Middle Name            Last Name



      3.2 Make:                          Harley          Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put the
                                         Davidson
                                                         ❑ Debtor 1 only                                          amount of any secured claims on Schedule D:
            Model:
                                         Softail         ❑ Debtor 2 only                                          Creditors Who Have Claims Secured by Property.
                                                         ✔ Debtor 1 and Debtor 2 only
                                                         ❑                                                       Current value of the       Current value of the
                                                         ❑ At least one of the debtors and another
            Year:                        2014
                                                                                                                 entire property?           portion you own?
            Approximate mileage:                                                                                               $8,250.00                 $8,250.00
                                                         ❑Check if this is community property (see
            Other information:                              instructions)




      3.3 Make:                          Chevy           Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put the
                                         C10             ❑ Debtor 1 only                                          amount of any secured claims on Schedule D:
            Model:
                                                         ❑ Debtor 2 only                                          Creditors Who Have Claims Secured by Property.
                                         1966            ✔ Debtor 1 and Debtor 2 only
                                                         ❑                                                       Current value of the       Current value of the
                                                         ❑ At least one of the debtors and another
            Year:
                                                                                                                 entire property?           portion you own?
            Approximate mileage:                                                                                              $14,500.00                $14,500.00
            Other information:                           ❑Check if this is community property (see
                                                            instructions)
            VIN: C1446A161647




      3.4 Make:                          Ford            Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put the
                                         Cabriolet       ❑ Debtor 1 only                                          amount of any secured claims on Schedule D:
            Model:
                                                         ❑ Debtor 2 only                                          Creditors Who Have Claims Secured by Property.
                                         1936            ❑ Debtor 1 and Debtor 2 only
            Year:
                                                         ✔ At least one of the debtors and another
                                                         ❑
                                                                                                                 Current value of the
                                                                                                                 entire property?
                                                                                                                                            Current value of the
                                                                                                                                            portion you own?
            Approximate mileage:                                                                                              $42,500.00                $21,250.00
            Other information:                           ❑Check if this is community property (see
                                                            instructions)
            VIN: 3150965




      3.5 Make:                          Trailer         Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put the
                                                         ❑ Debtor 1 only                                          amount of any secured claims on Schedule D:
            Model:
                                                         ❑ Debtor 2 only                                          Creditors Who Have Claims Secured by Property.
                                         2008            ✔ Debtor 1 and Debtor 2 only
                                                         ❑                                                       Current value of the       Current value of the
                                                         ❑ At least one of the debtors and another
            Year:
                                                                                                                 entire property?           portion you own?
            Approximate mileage:                                                                                               $2,250.00                 $2,250.00
            Other information:                           ❑Check if this is community property (see
                                                            instructions)




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes


Official Form 106A/B                                                          Schedule A/B: Property                                                     page 5
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 Debtor 2                             Maria                          C                                Ospina-Arbelaez                                                  6:18-bk-03304
                                      First Name                     Middle Name                      Last Name



 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                   ➜          $57,201.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                    Current value of the
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

 6.    Household goods and furnishings
       Examples:       Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                               See Attached.
                                                                                                                                                                                                    $8,040.00


 7. Electronics
       Examples:       Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                       electronic devices including cell phones, cameras, media players, games
       ✔ No
       ❑
       ❑ Yes. Describe........

 8.    Collectibles of value
       Examples:       Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                       stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:       Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                       carpentry tools; musical instruments
       ✔ No
       ❑
       ❑ Yes. Describe........

 10.    Firearms
        Examples:        Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:        Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        ✔ No
        ❑
        ❑ Yes. Describe........

 12.    Jewelry
        Examples:        Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        ✔ No
        ❑
        ❑ Yes. Describe........



Official Form 106A/B                                                                                     Schedule A/B: Property                                                                    page 6
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                                          First Name                          Middle Name                            Last Name



 13.   Non-farm animals
       Examples:           Dogs, cats, birds, horses
       ✔ No
       ❑
       ❑ Yes. Describe........

 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Describe........

 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here........................................................................................................................................➜                                  $8,040.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                           Current value of the
                                                                                                                                                                                                        portion you own?
                                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                                        claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ✔ No
       ❑
       ❑ Yes.............................................................................................................................................................   Cash..............


 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                                                                         Institution name:



                                                17.1. Checking account:                                   Bank of America W 5115                                                                                      $598.01


                                                17.2. Checking account:                                   Bank of America 1205                                                                                       $1,736.88


                                                17.3. Savings account:


                                                17.4. Savings account:


                                                17.5. Certificates of deposit:


                                                17.6. Other financial account:


                                                17.7. Other financial account:




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                                      First Name            Middle Name                 Last Name



                                         17.8. Other financial account:


                                         17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
            information about
            them...................

                                         Name of entity:                                                                   % of ownership:


                                         Doc's Choice LLC Holding Company for Business Bldg at 316                        100                %         unknown
                                         Groveland Street Orlando, FL 32804

 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each account
       ❑
            separately.
                                         Type of account:           Institution name:

                                         401(k) or similar plan:     Dental Care Alliance 401k Plan- Voya W                                             $3,331.80


                                         401(k) or similar plan:     Dental Care Alliance 401k Plan- Voya H                                            $29,540.00

 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................

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 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:     Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:     Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                     professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about                                                                            Federal:
                 them, including whether you
                 already filed the returns and the                                                                          State:
                 tax years.......................
                                                                                                                            Local:



 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                            Alimony:

                                                                                                                            Maintenance:

                                                                                                                            Support:

                                                                                                                            Divorce settlement:

                                                                                                                            Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.    Name the insurance company
                 of each policy and list its value....



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                                                                                                                                                                    Case number (if known)
 Debtor 2                              Maria                         C                                 Ospina-Arbelaez                                                   6:18-bk-03304
                                      First Name                      Middle Name                       Last Name



 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                 $41,181.93



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ❑No. Go to Part 6.
       ✔Yes. Go to line 38.
       ❑
 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                2002 NewTom Dental Volumetric Tomograph, model no: QR-DVT-9000, s/n: NT011147 and table
                                                (machine not properly stored)                                                                                                                  $7,500.00




Official Form 106A/B                                                                                       Schedule A/B: Property                                                            page 10
 Debtor 1
                                          Case 6:19-bk-05155-KSJ
                                        Diego        L
                                                                                                        Doc 14
                                                                                                       Ospina
                                                                                                                              Filed 06/29/18                       Page  11 of 86
                                                                                                                                                                    Case number (if known)
 Debtor 2                               Maria                        C                                 Ospina-Arbelaez                                                   6:18-bk-03304
                                        First Name                    Middle Name                       Last Name



 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ❑ No
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ❑ No
       ✔ Yes. Give specific
       ❑
            information.........


                                            Designer Smiles Dental, PLLC                                                                                                                      unknown


 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                   $7,500.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ❑No. Go to Part 7.
       ✔Yes. Go to line 47.
       ❑
 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ❑ No
       ✔ Yes..........................
       ❑                                        See Attached.
                                                                                                                                                                                              $6,750.00


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


Official Form 106A/B                                                                                       Schedule A/B: Property                                                            page 11
 Debtor 1
                                           Case 6:19-bk-05155-KSJ
                                        Diego         L
                                                                                                             Doc 14
                                                                                                            Ospina
                                                                                                                                    Filed 06/29/18                         Page  12 of 86
                                                                                                                                                                            Case number (if known)
 Debtor 2                               Maria                           C                                   Ospina-Arbelaez                                                      6:18-bk-03304
                                        First Name                       Middle Name                         Last Name



 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                              $6,750.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                                  $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                     $225,821.00


 56.   Part 2: Total vehicles, line 5                                                                                        $57,201.00


 57.   Part 3: Total personal and household items, line 15                                                                     $8,040.00


 58.   Part 4: Total financial assets, line 36                                                                               $41,181.93


 59.   Part 5: Total business-related property, line 45                                                                        $7,500.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                               $6,750.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                      $120,672.93              Copy personal property total➜            +       $120,672.93




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                    $346,493.93




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                   page 12
                             Case 6:19-bk-05155-KSJ                   Doc 14           Filed 06/29/18   Page 13 of 86
 Debtor 1                  Diego                L                    Ospina                              Case number (if known)
 Debtor 2                  Maria                C                    Ospina-Arbelaez                     6:18-bk-03304
                           First Name           Middle Name           Last Name



                                                      SCHEDULE A/B: PROPERTY
                                                                 Continuation Page

 6.   Household goods and furnishings
      Household Goods & Furnishings located at 205 Robin Lee Rd (See appraisal report for breakdown)                              $2,325.00
      Household Goods & Furnishings at 539 Tabatha Dr (see appraisal report for breakdown)                                        $5,715.00

 17. Deposits of money
      Checking account:                 Bank of America 5144                                                                      $5,953.65
      Checking account:                 Bank of America 4703                                                                       ($12.00)
      Checking account:                 Wells Fargo Designer Smiles PA 7943                                                        ($14.00)
      Checking account:                 Wells Fargo- CJR Holdings, LLC 8410                                                         $22.00
      Checking account:                 Wells Fargo- C&C Corporate Holding Group Inc 6344                                           $25.59

 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      Kawasaki Mule 600 side x side                                                                                               $4,500.00
      Gravely 250Z zero turn mower                                                                                                $2,250.00




Official Form 106A/B                                                   Schedule A/B: Property
                                  Case 6:19-bk-05155-KSJ                        Doc 14          Filed 06/29/18              Page 14 of 86
 Fill in this information to identify your case:

  Debtor 1                   Diego                   L                   Ospina
                             First Name            Middle Name          Last Name

  Debtor 2                   Maria                   C                   Ospina-Arbelaez
  (Spouse, if filing)        First Name            Middle Name          Last Name

  United States Bankruptcy Court for the:                          Middle District of Florida

  Case number                        6:18-bk-03304                                                                                      ❑Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                          04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt


 1.   Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

      Brief description of the property and line on       Current value of the         Amount of the exemption you claim         Specific laws that allow exemption
      Schedule A/B that lists this property               portion you own
                                                          Copy the value from          Check only one box for each exemption.
                                                          Schedule A/B

 3. Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                   page 1 of 1
 Debtor 1
                              Case 6:19-bk-05155-KSJ
                            Diego        L
                                                                           Doc 14
                                                                          Ospina
                                                                                           Filed 06/29/18              Page  15 of 86
                                                                                                                        Case number (if known)
 Debtor 2                   Maria                C                        Ospina-Arbelaez                                     6:18-bk-03304
                            First Name           Middle Name               Last Name


 Part 2: Additional Page
     Brief description of the property and line on   Current value of the       Amount of the exemption you claim                   Specific laws that allow exemption
     Schedule A/B that lists this property           portion you own
                                                     Copy the value from        Check only one box for each exemption.
                                                     Schedule A/B

                                                                              ✔
    Brief             1966 Chevy C10
    description:      VIN: C1446A161647                   $14,500.00          ❑                    $1,000.00                        Fla. Stat. Ann. § 222.25(1)

    Line from
                                                                              ❑        100% of fair market value, up to any
                                                                                       applicable statutory limit
    Schedule A/B:     3.3




                                                                              ✔
    Brief             1936 Ford Cabriolet
    description:      VIN: 3150965                        $21,250.00          ❑                    $1,000.00                        Fla. Stat. Ann. § 222.25(1)

    Line from
                                                                              ❑        100% of fair market value, up to any
                                                                                       applicable statutory limit
    Schedule A/B:     3.4




                                                                              ✔
                      Household Goods &
                      Furnishings located at                $2,325.00         ❑                    $2,000.00                        Fla. Const. art. X, § 4(a)(2)
                      205 Robin Lee Rd (See                                   ❑        100% of fair market value, up to any
    Brief             appraisal report for                                             applicable statutory limit
    description:      breakdown)

    Line from
    Schedule A/B:     6


    Brief             Bank of America 1205
    description:      Checking account                      $1,736.88         ❑                                                     Fla. Stat. Ann. § 222.11(2)(a)
                                                                              ✔
                                                                              ❑        100% of fair market value, up to any
    Line from                                                                          applicable statutory limit
    Schedule A/B:     17



    Brief             Bank of America 5144
    description:      Checking account                      $5,953.65         ❑                                                     Fla. Stat. Ann. § 222.11(2)(a)
                                                                              ✔
                                                                              ❑        100% of fair market value, up to any
    Line from                                                                          applicable statutory limit
    Schedule A/B:     17




                                                                              ✔
    Brief             Bank of America 4703
    description:      Checking account                         ($12.00)       ❑                      $0.00                          Fla. Stat. Ann. § 222.11(2)(a)

    Line from
                                                                              ❑        100% of fair market value, up to any
                                                                                       applicable statutory limit
    Schedule A/B:     17




                                                                              ✔
                      Wells Fargo Designer
    Brief             Smiles PA 7943                           ($14.00)       ❑                      $0.00                          Fla. Stat. Ann. § 222.11(2)(a)
    description:      Checking account                                        ❑        100% of fair market value, up to any
                                                                                       applicable statutory limit
    Line from
    Schedule A/B:     17



                                                                              ✔
                      Wells Fargo- CJR
    Brief             Holdings, LLC 8410                        $22.00        ❑                     $22.00                          Fla. Stat. Ann. § 222.11(2)(a)
    description:      Checking account                                        ❑        100% of fair market value, up to any
                                                                                       applicable statutory limit
    Line from
    Schedule A/B:     17




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                            Additional Page
 Debtor 1
                              Case 6:19-bk-05155-KSJ
                           Diego         L
                                                                           Doc 14
                                                                         Ospina
                                                                                           Filed 06/29/18              Page  16 of 86
                                                                                                                        Case number (if known)
 Debtor 2                  Maria                 C                       Ospina-Arbelaez                                      6:18-bk-03304
                           First Name            Middle Name               Last Name


 Part 2: Additional Page
     Brief description of the property and line on   Current value of the       Amount of the exemption you claim                   Specific laws that allow exemption
     Schedule A/B that lists this property           portion you own
                                                     Copy the value from        Check only one box for each exemption.
                                                     Schedule A/B
                      Wells Fargo- C&C
                      Corporate Holding Group                   $25.59        ❑                                                     Fla. Stat. Ann. § 222.11(2)(a)
    Brief             Inc 6344                                                ✔
                                                                              ❑        100% of fair market value, up to any
    description:      Checking account                                                 applicable statutory limit

    Line from
    Schedule A/B:     17



                                                                              ✔
    Brief             Bank of America W 5115
    description:      Checking account                         $598.01        ❑                      $0.00                          Fla. Stat. Ann. § 222.11(2)(a)

    Line from
                                                                              ❑        100% of fair market value, up to any
                                                                                       applicable statutory limit
    Schedule A/B:     17




                                                                              ✔
    Brief             Dental Care Alliance
    description:      401k Plan- Voya W                     $3,331.80         ❑                    $3,331.80                        Fla. Stat. Ann. § 222.21(2)

    Line from
                                                                              ❑        100% of fair market value, up to any
                                                                                       applicable statutory limit
    Schedule A/B:     21




                                                                              ✔
    Brief             Dental Care Alliance
    description:      401k Plan- Voya H                   $29,540.00          ❑                   $29,540.00                        Fla. Stat. Ann. § 222.21(2)

    Line from
                                                                              ❑        100% of fair market value, up to any
                                                                                       applicable statutory limit
    Schedule A/B:     21




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                            Additional Page
                                     Case 6:19-bk-05155-KSJ                         Doc 14           Filed 06/29/18         Page 17 of 86
 Fill in this information to identify your case:

  Debtor 1                       Diego                   L                  Ospina
                                 First Name          Middle Name           Last Name

  Debtor 2                       Maria                   C                  Ospina-Arbelaez
  (Spouse, if filing)            First Name          Middle Name           Last Name

  United States Bankruptcy Court for the:                              Middle District of Florida

  Case number                            6:18-bk-03304                                                                                       ❑Check if this is an
  (if known)                                                                                                                                    amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
   ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each     Column A                Column B              Column C
    claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, Amount of claim         Value of              Unsecured
    list the claims in alphabetical order according to the creditor’s name.                                           Do not deduct the       collateral that       portion
                                                                                                                      value of collateral.    supports this         If any
                                                                                                                                              claim
2.1 Chrysler Financial/TD Auto Finance                       Describe the property that secures the claim:                       $48,258.75                $1.00       $48,257.75
     Creditor's Name
                                                              2016 Dodge Ram (Lease)
      Po Box 9223
     Number             Street
      Farmington Hills, MI 48333                             As of the date you file, the claim is: Check all that apply.
     City                             State    ZIP Code      ❑Contigent
     Who owes the debt? Check one.                           ❑Unlquidated
     ✔ Debtor 1 only
     ❑                                                       ❑Disputed
     ❑Debtor 2 only                                          Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                             ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another                   secured car loan)
     ❑Check if this claim relates to a                       ❑Statutory lien (such as tax lien, mechanic's lien)
         community debt
                                                             ❑Judgment lien from a lawsuit
     Date debt was incurred                                  ✔Other (including a right to offset)
                                                             ❑
     Dec 01, 2005                                               Lease

                                                             Last 4 digits of account number 4         2    4    7

      Add the dollar value of your entries in Column A on this page. Write that number here:                                   $48,258.75




Official Form 106D                                           Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of 8
 Debtor 1
                                Case 6:19-bk-05155-KSJ
                              Diego        L
                                                                                 Doc 14
                                                                                 Ospina
                                                                                                  Filed 06/29/18            Page  18 of 86
                                                                                                                             Case number (if known)
 Debtor 2                     Maria                   C                          Ospina-Arbelaez                                 6:18-bk-03304
                              First Name              Middle Name                Last Name


                                                                                                                         Column A                Column B              Column C
              Additional Page                                                                                            Amount of claim         Value of              Unsecured
  Part 1:
              After listing any entries on this page, number them beginning                                              Do not deduct the       collateral that       portion
              with 2.3, followed by 2.4, and so forth.                                                                   value of collateral.    supports this         If any
                                                                                                                                                 claim


 2.2 DC & EK Holdings, LLC                                Describe the property that secures the claim:                          $374,500.00                $0.00        $374,500.00
     Creditor's Name
                                                           316 Groveland St Orlando, FL 32804
     PO Box 940867
     Number          Street
     Maitland, FL 32794                                   As of the date you file, the claim is: Check all that apply.
     City                       State      ZIP Code       ✔ Contigent
                                                          ❑
     Who owes the debt? Check one.                        ✔ Unlquidated
                                                          ❑
     ❑Debtor 1 only                                       ✔ Disputed
                                                          ❑
     ❑Debtor 2 only                                       Nature of lien. Check all that apply.
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                    ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another                secured car loan)
     ❑Check if this claim relates to a                    ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                          ❑Judgment lien from a lawsuit
     Date debt was incurred                               ❑Other (including a right to offset)
                                                          Last 4 digits of account number




 2.3 Everbank Commercial Finance, Inc.                    Describe the property that secures the claim:                              unknown            $7,500.00                $0.00
     Creditor's Name
                                                           2002 NewTom Dental Volumetric Tomograph, model
     10 Waterview Blvd                                     no: QR-DVT-9000, s/n: NT011147 and table (machine
     Number          Street                                not properly stored)
     Parsippany, NJ 07054                                 As of the date you file, the claim is: Check all that apply.
                                                          ✔ Contigent
     City                       State      ZIP Code
     Who owes the debt? Check one.
                                                          ❑
     ❑Debtor 1 only                                       ✔ Unlquidated
                                                          ❑
     ❑Debtor 2 only                                       ✔ Disputed
                                                          ❑
     ❑Debtor 1 and Debtor 2 only                          Nature of lien. Check all that apply.
     ✔At least one of the debtors and another
     ❑                                                    ❑An agreement you made (such as mortgage or
     ❑Check if this claim relates to a                       secured car loan)
        community debt                                    ❑Statutory lien (such as tax lien, mechanic's lien)
     Date debt was incurred
                                                          ❑Judgment lien from a lawsuit
                                                          ❑Other (including a right to offset)
                                                          Last 4 digits of account number




      Add the dollar value of your entries in Column A on this page. Write that number here:                                    $374,500.00




Official Form 106D                           Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 8
 Debtor 1
                                  Case 6:19-bk-05155-KSJ
                              Diego          L
                                                                                 Doc 14
                                                                                 Ospina
                                                                                                  Filed 06/29/18            Page  19 of 86
                                                                                                                             Case number (if known)
 Debtor 2                     Maria                   C                          Ospina-Arbelaez                                 6:18-bk-03304
                              First Name              Middle Name                Last Name


                                                                                                                         Column A                Column B              Column C
              Additional Page                                                                                            Amount of claim         Value of              Unsecured
  Part 1:
              After listing any entries on this page, number them beginning                                              Do not deduct the       collateral that       portion
              with 2.3, followed by 2.4, and so forth.                                                                   value of collateral.    supports this         If any
                                                                                                                                                 claim


 2.4 Harbin, Billy & Sophia                               Describe the property that secures the claim:                              unknown                $0.00                $0.00
     Creditor's Name
     6728 Sylvan Woods Dr
     Number          Street
     Sanford, FL 32771                                    As of the date you file, the claim is: Check all that apply.
     City                         State    ZIP Code       ❑Contigent
     Who owes the debt? Check one.                        ❑Unlquidated
     ❑Debtor 1 only                                       ❑Disputed
     ❑Debtor 2 only                                       Nature of lien. Check all that apply.
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                    ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another                secured car loan)
     ❑Check if this claim relates to a                    ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                          ❑Judgment lien from a lawsuit
     Date debt was incurred                               ❑Other (including a right to offset)
                                                          Last 4 digits of account number




 2.5 Indian Lakes Estates, Inc.                           Describe the property that secures the claim:                            $1,556.01                $0.00          $1,556.01
     Creditor's Name
     Po Box 7395
     Number          Street
      Indian Lk Est, FL 33855-7395                        As of the date you file, the claim is: Check all that apply.
     City                         State    ZIP Code       ❑Contigent
     Who owes the debt? Check one.                        ❑Unlquidated
     ❑Debtor 1 only                                       ❑Disputed
     ❑Debtor 2 only                                       Nature of lien. Check all that apply.
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                    ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another                secured car loan)
     ❑Check if this claim relates to a                    ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                          ❑Judgment lien from a lawsuit
     Date debt was incurred                               ❑Other (including a right to offset)
                                                          Last 4 digits of account number




      Add the dollar value of your entries in Column A on this page. Write that number here:                                       $1,556.01




Official Form 106D                           Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 8
 Debtor 1
                                Case 6:19-bk-05155-KSJ
                              Diego        L
                                                                                 Doc 14
                                                                                 Ospina
                                                                                                  Filed 06/29/18            Page  20 of 86
                                                                                                                             Case number (if known)
 Debtor 2                     Maria                   C                          Ospina-Arbelaez                                 6:18-bk-03304
                              First Name              Middle Name                Last Name


                                                                                                                         Column A                Column B              Column C
              Additional Page                                                                                            Amount of claim         Value of              Unsecured
  Part 1:
              After listing any entries on this page, number them beginning                                              Do not deduct the       collateral that       portion
              with 2.3, followed by 2.4, and so forth.                                                                   value of collateral.    supports this         If any
                                                                                                                                                 claim


 2.6 Newport Miami Beach Condo Assoc                      Describe the property that secures the claim:                            $3,109.85                $0.00          $3,109.85
     Creditor's Name
                                                           Miami Beach, FL
     16701 Collins Ave # 100
     Number          Street
     Sunny Isl Bch, FL 33160-4201                         As of the date you file, the claim is: Check all that apply.
     City                       State      ZIP Code       ❑Contigent
     Who owes the debt? Check one.                        ❑Unlquidated
     ❑Debtor 1 only                                       ❑Disputed
     ❑Debtor 2 only                                       Nature of lien. Check all that apply.
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                    ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another                secured car loan)
     ❑Check if this claim relates to a                    ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                          ❑Judgment lien from a lawsuit
     Date debt was incurred                               ❑Other (including a right to offset)
                                                          Last 4 digits of account number




 2.7 OneMain Financial                                    Describe the property that secures the claim:                            $7,859.00            $8,250.00                $0.00
     Creditor's Name
                                                           2014 Harley Davidson Softail
     Po Box 1010
     Number          Street
     Evansville, IN 47706                                 As of the date you file, the claim is: Check all that apply.
     City                       State      ZIP Code       ❑Contigent
     Who owes the debt? Check one.                        ❑Unlquidated
     ❑Debtor 1 only                                       ❑Disputed
     ❑Debtor 2 only                                       Nature of lien. Check all that apply.
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                    ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another                secured car loan)
     ❑Check if this claim relates to a                    ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                          ❑Judgment lien from a lawsuit
     Date debt was incurred                               ❑Other (including a right to offset)
     Feb 01, 2017
                                                          Last 4 digits of account number 7         3    7    8




      Add the dollar value of your entries in Column A on this page. Write that number here:                                      $10,968.85




Official Form 106D                           Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 8
 Debtor 1
                                 Case 6:19-bk-05155-KSJ
                              Diego         L
                                                                                 Doc 14
                                                                                 Ospina
                                                                                                  Filed 06/29/18            Page  21 of 86
                                                                                                                             Case number (if known)
 Debtor 2                     Maria                   C                          Ospina-Arbelaez                                 6:18-bk-03304
                              First Name              Middle Name                Last Name


                                                                                                                         Column A                Column B              Column C
              Additional Page                                                                                            Amount of claim         Value of              Unsecured
  Part 1:
              After listing any entries on this page, number them beginning                                              Do not deduct the       collateral that       portion
              with 2.3, followed by 2.4, and so forth.                                                                   value of collateral.    supports this         If any
                                                                                                                                                 claim


 2.8 Palace Elite                                         Describe the property that secures the claim:                            $5,726.90                $0.00          $5,726.90
     Creditor's Name
                                                           Cancun
     Controladora IHC, SA de CV
     PO Box 35444
     Number          Street
                                                          As of the date you file, the claim is: Check all that apply.

     Las Vegas, NV 89133                                  ❑Contigent
     City                        State     ZIP Code       ❑Unlquidated
     Who owes the debt? Check one.                        ❑Disputed
     ❑Debtor 1 only                                       Nature of lien. Check all that apply.
     ❑Debtor 2 only                                       ❑An agreement you made (such as mortgage or
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                       secured car loan)
     ❑At least one of the debtors and another             ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a                    ❑Judgment lien from a lawsuit
        community debt
                                                          ❑Other (including a right to offset)
     Date debt was incurred
                                                          Last 4 digits of account number




 2.9 Polk County Tax Collector                            Describe the property that secures the claim:                                $79.97               $0.00                $79.97
     Creditor's Name
     Joe G Tedder
     PO Box 1189
     Number          Street
                                                          As of the date you file, the claim is: Check all that apply.

     Bartow, FL 33831                                     ❑Contigent
     City                        State     ZIP Code       ❑Unlquidated
     Who owes the debt? Check one.                        ❑Disputed
     ❑Debtor 1 only                                       Nature of lien. Check all that apply.
     ❑Debtor 2 only                                       ❑An agreement you made (such as mortgage or
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                       secured car loan)
     ❑At least one of the debtors and another             ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a                    ❑Judgment lien from a lawsuit
        community debt
                                                          ❑Other (including a right to offset)
     Date debt was incurred
                                                          Last 4 digits of account number




      Add the dollar value of your entries in Column A on this page. Write that number here:                                       $5,806.87




Official Form 106D                           Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 5 of 8
 Debtor 1
                                Case 6:19-bk-05155-KSJ
                              Diego        L
                                                                               Doc 14
                                                                              Ospina
                                                                                                Filed 06/29/18            Page  22 of 86
                                                                                                                           Case number (if known)
 Debtor 2                     Maria               C                           Ospina-Arbelaez                                  6:18-bk-03304
                              First Name              Middle Name              Last Name


                                                                                                                       Column A                Column B              Column C
               Additional Page                                                                                         Amount of claim         Value of              Unsecured
  Part 1:
               After listing any entries on this page, number them beginning                                           Do not deduct the       collateral that       portion
               with 2.3, followed by 2.4, and so forth.                                                                value of collateral.    supports this         If any
                                                                                                                                               claim


2.10 Santander Consumer USA                             Describe the property that secures the claim:                           $12,000.00            $8,200.00          $3,800.00
      Creditor's Name
                                                         2014 Chevy Captiva
      Po Box 961275
      Number         Street
      Fort Worth, TX 76161                              As of the date you file, the claim is: Check all that apply.
      City                       State     ZIP Code     ❑Contigent
      Who owes the debt? Check one.                     ❑Unlquidated
      ❑Debtor 1 only                                    ❑Disputed
      ❑Debtor 2 only                                    Nature of lien. Check all that apply.
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                 ❑An agreement you made (such as mortgage or
      ❑At least one of the debtors and another             secured car loan)
      ❑Check if this claim relates to a                 ❑Statutory lien (such as tax lien, mechanic's lien)
         community debt
                                                        ❑Judgment lien from a lawsuit
      Date debt was incurred                            ❑Other (including a right to offset)
      Sep 01, 2016
                                                        Last 4 digits of account number 1         0    0    0




 2.11 Wells Fargo Bank, NA                              Describe the property that secures the claim:                           $13,982.96          $225,821.00         $13,982.96
      Creditor's Name
                                                         205 Robin Lee Road Oviedo, FL 32765
      MAC N9777-112
      PO Box 5169
      Number         Street
                                                        As of the date you file, the claim is: Check all that apply.

      Sioux Falls, SD 57117                             ❑Contigent
      City                       State     ZIP Code     ❑Unlquidated
      Who owes the debt? Check one.                     ❑Disputed
      ✔ Debtor 1 only
      ❑                                                 Nature of lien. Check all that apply.
      ❑Debtor 2 only                                    ❑An agreement you made (such as mortgage or
      ❑Debtor 1 and Debtor 2 only                          secured car loan)
      ❑At least one of the debtors and another          ❑Statutory lien (such as tax lien, mechanic's lien)
      ❑Check if this claim relates to a                 ❑Judgment lien from a lawsuit
         community debt
                                                        ❑Other (including a right to offset)
      Date debt was incurred
                                                        Last 4 digits of account number 1         9    9    8




      Add the dollar value of your entries in Column A on this page. Write that number here:                                    $25,982.96




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 6 of 8
 Debtor 1
                                Case 6:19-bk-05155-KSJ
                              Diego        L
                                                                               Doc 14
                                                                              Ospina
                                                                                                Filed 06/29/18            Page  23 of 86
                                                                                                                           Case number (if known)
 Debtor 2                     Maria               C                           Ospina-Arbelaez                                  6:18-bk-03304
                              First Name              Middle Name              Last Name


                                                                                                                       Column A                Column B              Column C
               Additional Page                                                                                         Amount of claim         Value of              Unsecured
  Part 1:
               After listing any entries on this page, number them beginning                                           Do not deduct the       collateral that       portion
               with 2.3, followed by 2.4, and so forth.                                                                value of collateral.    supports this         If any
                                                                                                                                               claim


2.12 Wells Fargo Home Mor                               Describe the property that secures the claim:                          $319,238.00          $225,821.00         $93,417.00
      Creditor's Name
                                                         205 Robin Lee Road Oviedo, FL 32765
      8480 Stagecoach Cir
      Number         Street
      Frederick, MD 21701                               As of the date you file, the claim is: Check all that apply.
      City                       State     ZIP Code     ❑Contigent
      Who owes the debt? Check one.                     ❑Unlquidated
      ✔ Debtor 1 only
      ❑                                                 ✔ Disputed
                                                        ❑
      ❑Debtor 2 only                                    Nature of lien. Check all that apply.
      ❑Debtor 1 and Debtor 2 only                       ❑An agreement you made (such as mortgage or
      ❑At least one of the debtors and another             secured car loan)
      ❑Check if this claim relates to a                 ❑Statutory lien (such as tax lien, mechanic's lien)
         community debt
                                                        ❑Judgment lien from a lawsuit
      Date debt was incurred                            ❑Other (including a right to offset)
      Nov 01, 2005
                                                        Last 4 digits of account number 7         6    7    6




      Add the dollar value of your entries in Column A on this page. Write that number here:                                  $319,238.00
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                     $786,311.44
      here:




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 7 of 8
 Debtor 1
                                Case 6:19-bk-05155-KSJ
                              Diego        L
                                                                            Doc 14
                                                                           Ospina
                                                                                            Filed 06/29/18            Page  24 of 86
                                                                                                                       Case number (if known)
 Debtor 2                     Maria                C                       Ospina-Arbelaez                                6:18-bk-03304
                              First Name           Middle Name              Last Name



 Part 2: List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.

    1                                                                                        On which line in Part 1 did you enter the creditor?     3
        Eric B Zweibel, PA
        Name
                                                                                             Last 4 digits of account number
        8751 W Broward Blvd Ste 100
        Number       Street



        Plantation, FL 33324-2630
        City                                                State         ZIP Code




Official Form 106D                               Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                      page 8 of 8
                                   Case 6:19-bk-05155-KSJ                     Doc 14           Filed 06/29/18               Page 25 of 86
 Fill in this information to identify your case:

  Debtor 1                   Diego                   L                 Ospina
                             First Name            Middle Name        Last Name

  Debtor 2                   Maria                   C                 Ospina-Arbelaez
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                         Middle District of Florida

  Case number                        6:18-bk-03304                                                                                          ❑Check if this is an
  (if known)                                                                                                                                   amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                         12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority          Nonpriority
                                                                                                                                  claim       amount            amount

2.1      Internal Revenue Service                                                                                                   unknown         unknown         unknown
                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
         PO Box 7346
        Number           Street
                                                                    As of the date you file, the claim is: Check all that
                                                                    apply.
         Philadelphia, PA 19101-7346                                ✔ Contingent
                                                                    ❑
        City                               State     ZIP Code
                                                                    ✔ Unliquidated
                                                                    ❑
        Who incurred the debt? Check one.                           ✔ Disputed
                                                                    ❑
        ❑ Debtor 1 only
        ❑ Debtor 2 only                                             Type of PRIORITY unsecured claim:
        ✔ Debtor 1 and Debtor 2 only
        ❑                                                           ❑ Domestic support obligations
                                                                    ✔ Taxes and certain other debts you owe the
                                                                    ❑
        ❑ At least one of the debtors and another
        ❑ Check if this claim is for a community debt
                                                                        government
                                                                    ❑ Claims for death or personal injury while you were
        Is the claim subject to offset?                                 intoxicated
        ✔ No
        ❑                                                           ❑ Other. Specify
        ❑ Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 21
 Debtor 1
                                    Case 6:19-bk-05155-KSJ
                                  Diego        L
                                                                                Doc 14
                                                                                Ospina
                                                                                                Filed 06/29/18               Page  26 of 86
                                                                                                                              Case number (if known)
 Debtor 2                         Maria                C                        Ospina-Arbelaez                                  6:18-bk-03304
                                  First Name           Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Aes/ Bony Us                                                              Last 4 digits of account number 0003                                                       $0.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          12/31/2003
                                                                                  As of the date you file, the claim is: Check all that apply.
        Number           Street
                                                                                  ❑ Contingent
                                                                                  ❑ Unliquidated
                                                                                  ❑ Disputed
        City                               State    ZIP Code

        Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
        ✔ Debtor 1 only
        ❑                                                                         ❑ Student loans
        ❑ Debtor 2 only                                                           ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
                                                                                  ❑ Other. Specify
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
4.2     American Medical Collection Agency                                                                                                                                 $440.07
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        4 Westchester Plaza Ste 110
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        Elmsford, NY 10523                                                        ❑ Contingent
        City                               State    ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ✔
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑                                                                             divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
          At least one of the debtors and another
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Medical
        ❑ Yes
4.3     Amex                                                                      Last 4 digits of account number 5013                                                $4,907.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          05/01/2014
        Po Box 297871                                                             As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Fort Lauderdale, FL 33329
        City                               State    ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ✔
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ❑ Other. Specify
        ✔ No
        ❑
        ❑ Yes



Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 2 of 21
                                   Case 6:19-bk-05155-KSJ                   Doc 14          Filed 06/29/18              Page 27 of 86
 Debtor 1                        Diego                  L                  Ospina                                          Case number (if known)
 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.4     Avante USA                                                                                                                                            $1,316.82
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        3600 S Gessner Rd Ste 225
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Houston, TX 77063-5184                                               ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.5     Bioreference Laboratories Inc                                                                                                                               $20.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        481 Edward H Ross Dr
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Elmwood Park, NJ 07407                                               ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes
4.6     Boundary Peak Emergency Physic                                                                                                                             $190.33
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        c/o AR Resources, Inc.
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 1056
       Number           Street                                               ❑   Contingent
        Blue Bell, PA 19422                                                  ❑   Unliquidated
       City                               State    ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Medical
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 3 of 21
                                   Case 6:19-bk-05155-KSJ                   Doc 14          Filed 06/29/18              Page 28 of 86
 Debtor 1                        Diego                  L                  Ospina                                          Case number (if known)
 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.7     Capital One                                                          Last 4 digits of account number 9072                                             $2,090.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/01/2007
        15000 Capital One Dr
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Richmond, VA 23238
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.8     Cardionet, LLC                                                                                                                                              $40.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        PO Box 508
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Malvern, PA 19355                                                    ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes
4.9     Central Florida Regional Hospital                                                                                                                     $1,179.36
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        PO Box 740771
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Cincinnati, OH 45274                                                 ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes




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 Debtor 1                        Diego                  L                  Ospina                                          Case number (if known)
 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.10    Chase Card Services                                                  Last 4 digits of account number 4095                                             $4,437.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/01/2005
        Po Box 15298
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Wilmington, DE 19850
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.11    Citimortgage                                                         Last 4 digits of account number 1229                                                    $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/02/2007
        Po Box 9438
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Gaithersburg, MD 20898
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.12    David A Walker MD                                                    Last 4 digits of account number 2161                                                  $246.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        c/o CMM
                                                                             As of the date you file, the claim is: Check all that apply.
                                                                             ❑
        403 Camellia Ave
       Number           Street                                                   Contingent

        Titusville, FL 32796                                                 ❑   Unliquidated
       City                               State    ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑
                                                                                 Debts to pension or profit-sharing plans, and other
              At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Medical
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1                        Diego                  L                  Ospina                                          Case number (if known)
 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.13    First Premier Bank                                                   Last 4 digits of account number 5560                                                  ($1.00)
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/10/2005
        3820 N Louise Ave
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Sioux Falls, SD 57104
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.14    Florida Hosp Med Center                                                                                                                               $3,316.64
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        Patient Financial Services
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 538800
       Number           Street                                               ❑   Contingent
        Orlando, FL 32853                                                    ❑   Unliquidated
       City                               State    ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Medical
       ✔
       ❑      No
       ❑      Yes
4.15    Florida Hosp Med Center                                              Last 4 digits of account number 2659                                                  $132.13
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        Patient Financial Services
                                                                             As of the date you file, the claim is: Check all that apply.
                                                                             ❑
        PO Box 538800
       Number           Street                                                   Contingent

        Orlando, FL 32853                                                    ❑   Unliquidated
       City                               State    ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
       ❑
                                                                                 Debts to pension or profit-sharing plans, and other
              At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Medical
       ✔
       ❑      No
       ❑      Yes




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 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.16    Florida Hospital Pathology Lab                                       Last 4 digits of account number 3584                                                  $795.85
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        PO Box 538800
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Orlando, FL 32853                                                    ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                 divorce that you did not report as priority claims

       ❑                                                                     ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes
4.17    Fox Collection Center                                                Last 4 digits of account number 9332                                                  $229.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/01/2017
        454 Moss Trl
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Goodlettsville, TN 37072
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.18    Global Receivables Solutions, Inc.                                   Last 4 digits of account number 4714                                             $1,179.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          01/01/2018
        2703 N Highway 75
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Sherman, TX 75090
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1                        Diego                  L                  Ospina                                          Case number (if known)
 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.19    Gulf Coast Collection Bureau, Inc.                                   Last 4 digits of account number 9459                                             unknown
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        PO Box 21239
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Sarasota, FL 34276                                                   ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                 divorce that you did not report as priority claims

       ❑                                                                     ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes
4.20    Helvey & Associates                                                  Last 4 digits of account number 8283                                                  $242.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          02/01/2018
        1015 E Center St
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Warsaw, IN 46580
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.21    IDC Of Volusia, Inc.                                                                                                                                        $15.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        410 Palmetto St
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        New Smyrna Beach, FL 32168-7323                                      ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes




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 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.22    Jax Emergency Physicians, LLC                                                                                                                         $2,098.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        PO Box 80156
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Philadelphia, PA 19110                                               ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes
4.23    Jewett Orthopaedic Clinic                                                                                                                                   $94.65
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        PO Box 1870
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Cary, NC 27512                                                       ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes
4.24    Jewett Orthopaedic Clinic                                                                                                                                   $80.12
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        PO Box 1870
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Cary, NC 27512                                                       ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes




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 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.25    Kevin B. Wilson Law Offices                                          Last 4 digits of account number 5178                                             $4,145.80
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        PO Box 24103
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Chattanooga, TN 37422                                                ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                 divorce that you did not report as priority claims

       ❑                                                                     ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes
4.26    Lease Financial Groupl                                               Last 4 digits of account number 2121                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/01/2013
        525 Washington Blvd
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Jersey City, NJ 07310
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.27    Mayo Clinic                                                                                                                                           $2,850.06
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        4500 San Pablo Rd
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Jacksonville, FL 32224                                               ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes




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 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.28    Mayo Clinic                                                          Last 4 digits of account number -348                                                 $412.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        4500 San Pablo Rd
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Jacksonville, FL 32224                                               ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                 divorce that you did not report as priority claims

       ❑                                                                     ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes
4.29    Millennium Health                                                                                                                                          $99.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        16981 Via Tazon
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        San Diego, CA 92127                                                  ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes
4.30    Murphy & O'Brien, LLC                                                                                                                                $14,715.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        555 NE 15th Street CU 21-2T
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Miami, FL 33132                                                      ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.31    Niswi, LLC                                                           Last 4 digits of account number 4-00                                             $3,825.05
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          01/15/2018
        d/b/a Amplify Funding
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 542
       Number           Street
                                                                             ❑   Contingent

        Lac Du Flambeau, WI 54538
                                                                             ❑   Unliquidated
       City                               State    ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.32    NPAS, Inc.                                                           Last 4 digits of account number 6448                                             $1,686.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          01/03/2018
        PO Box 99400
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Louisville, KY 40269
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical

       ❑      Yes
4.33    Orlando Hand Surgery Assoc PA                                                                                                                             $164.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        801 N Orange Ave Ste 600
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Orlando, FL 32801-5202                                               ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1                        Diego                  L                  Ospina                                          Case number (if known)
 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.34    Orlando Heart & Vascular Center LLC                                  Last 4 digits of account number 0001                                                 $50.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        11616 Lake Underhill Rd Ste 215
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Orlando, FL 32825                                                    ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                 divorce that you did not report as priority claims

       ❑                                                                     ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes
4.35    PHEAA/HCB                                                            Last 4 digits of account number 0001                                           $182,975.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          01/01/2016
        Po Box 61047
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Harrisburg, PA 17106
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.36    Preventice Services LLC                                              Last 4 digits of account number 3543                                                 $40.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/26/2016
        1717 N Sam Houston Pkwy W Ste 100
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Houston, TX 77038
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical

       ❑      Yes




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 Debtor 1                        Diego                  L                  Ospina                                          Case number (if known)
 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.37    Quest Diagnostics                                                                                                                                         $15.80
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        PO Box 7306
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Hollister, MO 65673-7306                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes
4.38    Quest Diagnostics                                                    Last 4 digits of account number 4625                                                 $10.49
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        PO Box 7306
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Hollister, MO 65673-7306                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                 divorce that you did not report as priority claims

       ❑                                                                     ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes
4.39    Quest Diagnostics                                                    Last 4 digits of account number 8952                                                 $23.99
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        PO Box 7306
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Hollister, MO 65673-7306                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                 divorce that you did not report as priority claims

       ❑                                                                     ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes




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 Debtor 1                        Diego                  L                  Ospina                                          Case number (if known)
 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

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4.40    Revenue Recovery Corp                                                Last 4 digits of account number 9900                                                  $56.28
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/27/2015
        PO Box 50250
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Knoxville, TN 37950
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical

       ❑      Yes
4.41    RMB, Inc.                                                                                                                                                 $866.22
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        409 Bearden Park Circle
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Knoxville, TN 37919                                                  ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes
4.42    Syncb Bank/American Eagle                                            Last 4 digits of account number 0369                                                   $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          02/26/2006
        Po Box 965005
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1                        Diego                  L                  Ospina                                          Case number (if known)
 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.43    Syncb/carecr                                                         Last 4 digits of account number 5192                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          01/01/2008
        C/o Po Box 965036
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.44    Syncb/ccmnmc                                                         Last 4 digits of account number 9990                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/09/2015
        Po Box 965036
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.45    Synchrony Bank/Care Credit                                           Last 4 digits of account number 9481                                             $2,262.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/01/2012
        950 Forrer Blvd
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Kettering, OH 45420
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1                        Diego                  L                  Ospina                                          Case number (if known)
 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.46    Synchrony Bank/Care Credit                                           Last 4 digits of account number 6683                                             $1,712.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/01/2011
        950 Forrer Blvd
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Kettering, OH 45420
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.47    Synchrony Bank/Discount Tire                                         Last 4 digits of account number 5559                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/01/2006
        C/o Po Box 965036
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.48    Synchrony Bank/Linen N' Things                                       Last 4 digits of account number 3266                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/01/2007
        Po Box 965005
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




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                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.49    Synchrony Bank/Sams                                                  Last 4 digits of account number 1052                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/04/2012
        Po Box 965005
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.50    Synchrony Bank/TJX                                                   Last 4 digits of account number 5371                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/20/2013
        Po Box 965015
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.51    Target                                                               Last 4 digits of account number 3305                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          07/01/2005
        Po Box 673
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Minneapolis, MN 55440
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 18 of 21
                                   Case 6:19-bk-05155-KSJ                   Doc 14          Filed 06/29/18              Page 43 of 86
 Debtor 1                        Diego                  L                  Ospina                                          Case number (if known)
 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.52    US Dept of Education                                                 Last 4 digits of account number 3621                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          09/27/2002
        Po Box 5609
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Greenville, TX 75403
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.53    Visa Dept Store National Bank/Macy's                                 Last 4 digits of account number 8660                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          11/22/2013
        Po Box 8218
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Mason, OH 45040
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.54    Visa Dept Store National Bank/Macy's                                 Last 4 digits of account number 8660                                                 $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          11/22/2013
        Po Box 8218
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Mason, OH 45040
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 19 of 21
                                   Case 6:19-bk-05155-KSJ                   Doc 14          Filed 06/29/18              Page 44 of 86
 Debtor 1                        Diego                  L                  Ospina                                          Case number (if known)
 Debtor 2                        Maria                  C                  Ospina-Arbelaez                                 6:18-bk-03304
                                 First Name             Middle Name         Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.55    Volusia Hand Surgery Clinic PA- Port Orange                                                                                                                $40.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        3635 S Clyde Morris Blvd Ste 900
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Port Orange, FL 32129-2352                                           ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Medical
       ❑      Yes
4.56    Wells Fargo Bank                                                     Last 4 digits of account number 3207                                                 $519.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          01/01/2013
        Po Box 14517
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Des Moines, IA 50306
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.57    Wellsfargo                                                           Last 4 digits of account number 1210                                                 ($1.00)
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          11/01/2005
        800 Walnut St
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Des Moines, IA 50309
                                                                             ❑   Contingent
       City                               State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 20 of 21
                               Case 6:19-bk-05155-KSJ                       Doc 14         Filed 06/29/18       Page 45 of 86
 Debtor 1                    Diego                  L                       Ospina                                 Case number (if known)
 Debtor 2                    Maria                  C                       Ospina-Arbelaez                        6:18-bk-03304
                             First Name             Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                               Total claim


                   6a. Domestic support obligations                                 6a.                            $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                    6b.                            $0.00
                       government

                   6c. Claims for death or personal injury while you                6c.                            $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.              6d.    +                       $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                              6e.                             $0.00




                                                                                               Total claim


                   6f. Student loans                                                 6f.                           $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                       6g.                           $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and                 6h.                           $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.            6i.   +                 $239,514.66
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                               6j.                      $239,514.66




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 21 of 21
                                    Case 6:19-bk-05155-KSJ                      Doc 14           Filed 06/29/18            Page 46 of 86
 Fill in this information to identify your case:

     Debtor 1                   Diego                   L               Ospina
                                First Name           Middle Name        Last Name

     Debtor 2                   Maria                   C               Ospina-Arbelaez
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                        Middle District of Florida

     Case number                        6:18-bk-03304                                                                                        ❑Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                                State what the contract or lease is for

2.1                                                                                               2016 Dodge Ram
        Chrysler Financial/TD Auto Finance                                                        Contract to be ASSUMED
        Name
        Po Box 9223
        Number      Street
        Farmington Hills, MI 48333
        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code


Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                page 1 of 1
                                        Case 6:19-bk-05155-KSJ                      Doc 14            Filed 06/29/18         Page 47 of 86
 Fill in this information to identify your case:

  Debtor 1                        Diego                   L                  Ospina
                                 First Name              Middle Name         Last Name

  Debtor 2                        Maria                   C                  Ospina-Arbelaez
  (Spouse, if filing)            First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                                Middle District of Florida

  Case number                             6:18-bk-03304                                                                                        ❑Check if this is an
  (if known)                                                                                                                                        amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ❑No
      ✔Yes
      ❑
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔No. Go to line 3.
      ❑
      ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑No
        ❑Yes. In which community state or territory did you live?                                           . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt
                                                                                                                  Check all schedules that apply:
3.1
      C&C Corporate Holding Group, Inc.
                                                                                                                  ✔Schedule D, line 2.3
                                                                                                                  ❑
      Name
                                                                                                                  ❑Schedule E/F, line
      Number          Street                                                                                      ❑Schedule G, line
      City                                    State     ZIP Code

Official Form 106H                                                               Schedule H: Your Codebtors                                                           page 1 of 1
                                  Case 6:19-bk-05155-KSJ                     Doc 14           Filed 06/29/18              Page 48 of 86
 Fill in this information to identify your case:

  Debtor 1                   Diego                   L                Ospina
                             First Name            Middle Name       Last Name

  Debtor 2                   Maria                   C                Ospina-Arbelaez
  (Spouse, if filing)        First Name            Middle Name       Last Name                                                   Check if this is:

  United States Bankruptcy Court for the:                        Middle District of Florida                                      ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                        6:18-bk-03304                                                                                     chapter 13 income as of the following date:
  (if known)

                                                                                                                                       MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                               Debtor 1                                            Debtor 2 or non-filing spouse

                                                                           ✔Employed
                                                                           ❑                                                   ✔Employed
                                                                                                                               ❑
     If you have more than one job,            Employment status
     attach a separate page with                                           ❑Not Employed                                       ❑Not Employed
     information about additional
     employers.                                                            DDS
                                               Occupation
     Include part time, seasonal, or
                                                                           Designer Smiles Dental PLLC                         Dental Care Alliance
     self-employed work.                       Employer's name

     Occupation may include student                                        6240 Lake Osprey Dr                                 6240 Lake Osprey Dr
                                               Employer's address
     or homemaker, if it applies.                                           Number Street                                       Number Street




                                                                           Sarasota, FL 34240                                  Sarasota, FL 34240
                                                                            City                     State     Zip Code         City                    State      Zip Code

                                               How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.               $47,156.02                  $3,333.33

 3. Estimate and list monthly overtime pay.                                                 3.   +            $1,900.00    +                 $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.               $49,056.02                  $3,333.33




Official Form 106I                                                          Schedule I: Your Income                                                                     page 1
                                          Case 6:19-bk-05155-KSJ                                              Doc 14      Filed 06/29/18           Page 49 of 86
 Debtor 1                              Diego                           L                                  Ospina                                    Case number (if known)
 Debtor 2                              Maria                           C                                  Ospina-Arbelaez                           6:18-bk-03304
                                       First Name                      Middle Name                            Last Name


                                                                                                                                    For Debtor 1        For Debtor 2 or
                                                                                                                                                        non-filing spouse
      Copy line 4 here....................................................................................➔               4.         $49,056.02                 $3,333.33
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                   5a.        $13,903.42                   $532.94

      5b. Mandatory contributions for retirement plans                                                                    5b.          $1,471.68                   $99.99

      5c. Voluntary contributions for retirement plans                                                                    5c.             $0.00                     $0.00

      5d. Required repayments of retirement fund loans                                                                    5d.             $0.00                     $0.00

      5e. Insurance                                                                                                       5e.          $3,565.36                  $354.21

      5f. Domestic support obligations                                                                                    5f.             $0.00                     $0.00

      5g. Union dues                                                                                                      5g.             $0.00                     $0.00

      5h. Other deductions. Specify: See additional page                                                                  5h.
                                                                                                                                +       $938.86         +         $122.22

 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                         6.         $19,879.32                 $1,109.36
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                 7.         $29,176.70                 $2,223.98
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                          8a.             $0.00                     $0.00
      8b. Interest and dividends
                                                                                                                          8b.             $0.00                     $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                          8c.             $0.00                     $0.00
      8d. Unemployment compensation                                                                                       8d.             $0.00                     $0.00
      8e. Social Security                                                                                                 8e.             $0.00                     $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                          8f.             $0.00                     $0.00
            Specify:
                                                                                                                          8g.             $0.00                     $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify:                                                                                  8h.   +          $0.00        +           $0.00



 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                               9.               $0.00                     $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                            10.         $29,176.70    +            $2,223.98        =      $31,400.68

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                          11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                                12.         $31,400.68
                                                                                                                                                                                  Combined
                                                                                                                                                                                  monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:

Official Form 106I                                                                                        Schedule I: Your Income                                                           page 2
                                   Case 6:19-bk-05155-KSJ       Doc 14        Filed 06/29/18   Page 50 of 86
 Debtor 1                     Diego          L                 Ospina                           Case number (if known)
 Debtor 2                     Maria          C                 Ospina-Arbelaez                  6:18-bk-03304
                              First Name     Middle Name        Last Name




                                                                                                                         Amount



   5h. Other Deductions For Debtor 1
        3000HDHP                                                                                                          $810.10
        Vision UHC                                                                                                         $21.06
        Voya Accident                                                                                                      $26.70
        Voya Critical Illness Child                                                                                         $8.80
        Other                                                                                                              $72.20

   5h. Other Deductions For Debtor 2
        Voya Accident                                                                                                      $21.54
        Voya Critical Illness Child                                                                                         $9.53
        Voya Critical Illness EE                                                                                           $28.17
        Voya Hospital                                                                                                      $62.99




Official Form 106I                                         Schedule I: Your Income                                            page 3
                                  Case 6:19-bk-05155-KSJ                              Doc 14       Filed 06/29/18           Page 51 of 86
 Fill in this information to identify your case:

  Debtor 1                   Diego                   L                      Ospina
                             First Name              Middle Name           Last Name                                Check if this is:
  Debtor 2                   Maria                   C                      Ospina-Arbelaez                         ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name           Last Name                                ❑A supplement showing postpetition
                                                                                                                         chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                             Middle District of Florida

  Case number                        6:18-bk-03304                                                                       MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑No. Go to line 2.
     ✔Yes. Does Debtor 2 live in a separate household?
     ❑
            ❑No
            ✔Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
            ❑
 2. Do you have dependents?                        ✔ No
                                                   ❑
     Do not list Debtor 1 and
     Debtor 2.
                                                   ❑Yes. Fill out this information for     Dependent's relationship to
                                                                                           Debtor 1 or Debtor 2
                                                                                                                                 Dependent's
                                                                                                                                 age
                                                                                                                                                     Does dependent live
                                                                                                                                                     with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                                                                             ❑No
                                                                                                                                                     ❑Yes
                                                                                                                                                     ❑No
                                                                                                                                                     ❑Yes
                                                                                                                                                     ❑No
                                                                                                                                                     ❑Yes
                                                                                                                                                     ❑No
                                                                                                                                                     ❑Yes
                                                                                                                                                     ❑No
                                                                                                                                                     ❑Yes
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                      Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                 4.                       $2,278.00


     If not included in line 4:
                                                                                                                                   4a.                      $1,029.70
     4a. Real estate taxes
                                                                                                                                   4b.                        $546.67
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                   4c.                        $395.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                   4d.                         $16.67
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                     Schedule J: Your Expenses                                                        page 1
 Debtor 1
                                  Case 6:19-bk-05155-KSJ
                                Diego        L
                                                                             Doc 14
                                                                             Ospina
                                                                                           Filed 06/29/18    Page  52 of 86
                                                                                                              Case number (if known)
 Debtor 2                       Maria                 C                      Ospina-Arbelaez                    6:18-bk-03304
                                First Name            Middle Name            Last Name


                                                                                                                           Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                 5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                         6a.                      $332.63

       6b. Water, sewer, garbage collection                                                                       6b.                       $10.82

       6c. Telephone, cell phone, Internet, satellite, and cable services                                         6c.                      $330.93

       6d. Other. Specify:    Netflix/ Amazon Prime/ Ebay/ Pandora/ Apple Music                                   6d.                      $250.00

 7.    Food and housekeeping supplies                                                                             7.                       $600.00

 8.    Childcare and children’s education costs                                                                   8.                         $0.00

 9.    Clothing, laundry, and dry cleaning                                                                        9.                       $150.00

 10. Personal care products and services                                                                          10.                      $100.00

 11.   Medical and dental expenses                                                                                11.                       $50.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                 12.                      $450.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                           13.                       $50.00

 14. Charitable contributions and religious donations                                                             14.                      $454.73

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                  15a.                       $0.00
       15a. Life insurance
                                                                                                                  15b.                       $0.00
       15b. Health insurance
                                                                                                                  15c.                 $1,779.67
       15c. Vehicle insurance
                                                                                                                  15d.                       $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                   16.                        $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                            17a.

       17b. Car payments for Vehicle 2                                                                            17b.

       17c. Other. Specify:                                                                                       17c.

       17d. Other. Specify:                                                                                       17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                       18.                        $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                   19.                        $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                           20a.                       $0.00

       20b. Real estate taxes                                                                                     20b.                     $913.60

       20c. Property, homeowner’s, or renter’s insurance                                                          20c.                       $0.00
       20d. Maintenance, repair, and upkeep expenses                                                              20d.                       $0.00
       20e. Homeowner’s association or condominium dues                                                           20e.                       $0.00
Official Form 106J                                                              Schedule J: Your Expenses                                            page 2
 Debtor 1
                                Case 6:19-bk-05155-KSJ
                             Diego         L
                                                                            Doc 14
                                                                            Ospina
                                                                                             Filed 06/29/18        Page  53 of 86
                                                                                                                    Case number (if known)
 Debtor 2                    Maria                   C                      Ospina-Arbelaez                             6:18-bk-03304
                             First Name              Middle Name            Last Name



 21. Other. Specify:                                                                                                     21.     +            $1,949.24
       Business Travel      Lexington Law    Allan Boress CPA Massey Pest Prevention         Myers Well & Pump   Cell
                                                           phones

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                       22a.                $11,687.66

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               22b.                 $4,239.68

      22c. Add line 22a and 22b. The result is your monthly expenses.                                                    22c.                $15,927.34


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                                  23a.                $31,400.68

      23b. Copy your monthly expenses from line 22c above.                                                               23b.    –           $15,927.34

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                         23c.                $15,473.34
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                                  page 3
Debtor 1
                 Case 6:19-bk-05155-KSJ
               Diego        L
                                          Doc 14
                                          Ospina
                                                       Filed 06/29/18   Page  54 of 86
                                                                         Case number (if known)
Debtor 2       Maria        C             Ospina-Arbelaez                  6:18-bk-03304
               First Name   Middle Name   Last Name


                                                                                      Itemized Expenses


  Household:
                                  Case 6:19-bk-05155-KSJ                              Doc 14       Filed 06/29/18          Page 55 of 86
 Fill in this information to identify your case:

  Debtor 1                   Diego                   L                      Ospina
                             First Name              Middle Name           Last Name                               Check if this is:
  Debtor 2                   Maria                   C                      Ospina-Arbelaez                        ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name           Last Name                               ❑A supplement showing post-petition chapter 13
                                                                                                                        expenses as of the following date:
  United States Bankruptcy Court for the:                             Middle District of Florida
                                                                                                                        MM / DD / YYYY
  Case number                        6:18-bk-03304
  (if known)



Official Form 106J-2
Schedule J-2: Expenses for Separate Household of Debtor 2                                                                                                              12/15
Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. If Debtor 1 and Debtor 2 have one or
more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this form only with respect to expenses for Debtor
2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space is needed, attach another sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑No. Do not complete this form.
     ✔Yes
     ❑
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 but list all             ✔Yes. Fill out this information for
                                                   ❑                                      Dependent's relationship to             Dependent's         Does dependent live
     other dependents of Debtor 2                                                         Debtor 2:                               age                 with you?
                                                      each dependent...............
     regardless of whether listed as a                                                                                                                ❑No.
     dependent of Debtor 1 on                                                             Child                                                       ✔Yes.
                                                                                                                                                      ❑
                                                                                                                                                      ❑No.
     Schedule J.
     Only list dependents                                                                 Child                                                       ✔Yes.
                                                                                                                                                      ❑
     Do not state the dependents' names.                                                                                                              ❑No
                                                                                                                                                      ❑Yes
                                                                                                                                                      ❑No
                                                                                                                                                      ❑Yes
                                                                                                                                                      ❑No
                                                                                                                                                      ❑Yes
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself, your
    dependents, and Debtor 1?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed.

 Include expenses paid for with non-cash government assistance if you know the value of                                                     Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.


     If not included in line 4:
                                                                                                                                  4a.                        $395.91
     4a. Real estate taxes
                                                                                                                                  4b.                          $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                        $200.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.
     4d. Homeowner's association or condominium dues                                                                                                           $0.00




Official Form 106J-2                                               Schedule J-2: Expenses for Separate Household of Debtor 2                                           page 1
                                  Case 6:19-bk-05155-KSJ                      Doc 14        Filed 06/29/18          Page 56 of 86
 Debtor 1                       Diego                 L                       Ospina                                   Case number (if known)
 Debtor 2                       Maria                 C                       Ospina-Arbelaez                          6:18-bk-03304
                                First Name            Middle Name             Last Name


                                                                                                                                   Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                        5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                                6a.                       $120.74

       6b. Water, sewer, garbage collection                                                                              6b.                       $123.95

       6c. Telephone, cell phone, Internet, satellite, and cable services                                                6c.                       $229.00

       6d. Other. Specify:                      Home Warranty                                                            6d.                        $49.00

 7.    Food and housekeeping supplies                                                                                    7.                        $350.00

 8.    Childcare and children’s education costs                                                                          8.                     $1,166.67

 9.    Clothing, laundry, and dry cleaning                                                                               9.                        $250.00

 10. Personal care products and services                                                                                 10.                       $350.00

 11.   Medical and dental expenses                                                                                       11.                        $50.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                        12.                       $200.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                                  13.                        $85.54

 14. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.                                    14.                       $107.50

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                         15a.                       $88.00
       15a. Life insurance
                                                                                                                         15b.                        $0.00
       15b. Health insurance
                                                                                                                         15c.                      $524.14
       15c. Vehicle insurance
                                                                                                                         15d.                        $0.00
       15d. Other insurance. Specify:                     [place holder]

 16. Charitable contributions and religious donations
       Specify:                                                                                                          16.                         $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                                   17a.

       17b. Car payments for Vehicle 2                                                                                   17b.

       17c. Other. Specify:                                                                                              17c.

       17d. Other. Specify:                                                                                              17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                              18.                         $0.00

 19. Other payments you make to support others who do not live with you
       Specify:                                                                                                          19.                         $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income

       20a. Mortgages on other property                                                                                  20a.                        $0.00

       20b. Real estate taxes                                                                                            20b.                        $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                                 20c.                        $0.00
       20d. Maintenance, repair, and upkeep expenses                                                                     20d.                        $0.00
       20e. Homeowner’s association or condominium dues                                                                  20e.                        $0.00
Official Form 106J-2                                             Schedule J-2: Expenses for Separate Household of Debtor 2                                   page 2
                                Case 6:19-bk-05155-KSJ                       Doc 14          Filed 06/29/18        Page 57 of 86
 Debtor 1                    Diego                  L                        Ospina                                 Case number (if known)
 Debtor 2                    Maria                  C                        Ospina-Arbelaez                        6:18-bk-03304
                             First Name             Middle Name               Last Name



 21. Other. Specify: Pet/ Vet      Lexington Lawn   Massey Pest Control     Dropbox     Fish Window Clean                 21.   +              $545.14

 22. Your monthly expenses. Add lines 5 through 21.
      The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to calculate the                             $4,239.68
      total expenses for Debtor 1 and Debtor 2.
                                                                                                                          22.

 23. Line not used on this form.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑            None
      ❑Yes.




Official Form 106J-2                                          Schedule J-2: Expenses for Separate Household of Debtor 2                                  page 3
                                          Case 6:19-bk-05155-KSJ                                       Doc 14               Filed 06/29/18                       Page 58 of 86
 Fill in this information to identify your case:

  Debtor 1                         Diego                          L                          Ospina
                                  First Name                    Middle Name                 Last Name

  Debtor 2                         Maria                          C                          Ospina-Arbelaez
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                             Middle District of Florida

  Case number                               6:18-bk-03304                                                                                                                           ❑Check if this is an
  (if known)                                                                                                                                                                           amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                           Your assets
                                                                                                                                                                                           Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                      $225,821.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                           $120,672.93


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                     $346,493.93



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                           Your liabilities
                                                                                                                                                                                           Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                              $786,311.44

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                  $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                     +               $239,514.66


                                                                                                                                                                  Your total liabilities                 $1,025,826.10

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                    $31,400.68


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                  $11,687.66




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                              page 1 of 2
                                 Case 6:19-bk-05155-KSJ                        Doc 14          Filed 06/29/18              Page 59 of 86
 Debtor 1                     Diego                  L                        Ospina                                           Case number (if known)
 Debtor 2                     Maria                  C                        Ospina-Arbelaez                                  6:18-bk-03304
                              First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                 $43,457.29




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                             $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                                  $0.00




Official Form 106Sum                                     Summary of Your Assets and Liabilities and Certain Statistical Information                         page 2 of 2
                                  Case 6:19-bk-05155-KSJ                    Doc 14            Filed 06/29/18          Page 60 of 86
 Fill in this information to identify your case:

  Debtor 1                   Diego                   L               Ospina
                             First Name            Middle Name       Last Name

  Debtor 2                   Maria                   C               Ospina-Arbelaez
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Middle District of Florida

  Case number                        6:18-bk-03304                                                                                      ❑Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                 12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                        (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Diego L Ospina                                                 ✘ /s/ Maria C Ospina-Arbelaez
        Diego L Ospina, Debtor 1, Debtor 1                                  Maria C Ospina-Arbelaez, Debtor 2


        Date 06/29/2018                                                     Date 06/29/2018
                MM/ DD/ YYYY                                                       MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                                  Case 6:19-bk-05155-KSJ                         Doc 14            Filed 06/29/18     Page 61 of 86
 Fill in this information to identify your case:

  Debtor 1                   Diego                   L                    Ospina
                             First Name            Middle Name            Last Name

  Debtor 2                   Maria                   C                    Ospina-Arbelaez
  (Spouse, if filing)        First Name            Middle Name            Last Name

  United States Bankruptcy Court for the:                             Middle District of Florida

  Case number                        6:18-bk-03304                                                                                    ❑Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.



 Part 1: Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
         Debtor 1:                                                Dates Debtor 1 lived        Debtor 2:                                         Dates Debtor 2 lived
                                                                  there                                                                         there


                                                                                            ❑ Same as Debtor 1                                 ❑ Same as Debtor 1
                                                                 From                                                                          From
       Number       Street                                                                         Number   Street
                                                                 To                                                                            To



       City                               State ZIP Code                                           City                  State ZIP Code




                                                                                            ❑ Same as Debtor 1                                 ❑ Same as Debtor 1
                                                                 From                                                                          From
       Number       Street                                                                         Number   Street
                                                                 To                                                                            To



       City                               State ZIP Code                                           City                  State ZIP Code




 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states and territories
    include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 1
 Debtor 1
                                  Case 6:19-bk-05155-KSJ
                               Diego         L
                                                                             Doc 14
                                                                             Ospina
                                                                                             Filed 06/29/18               Page  62 of 86
                                                                                                                           Case number (if known)
 Debtor 2                      Maria                C                        Ospina-Arbelaez                                 6:18-bk-03304
                               First Name           Middle Name              Last Name




 Part 2: Explain the Sources of Your Income



 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Debtor 1                                                    Debtor 2

                                                     Sources of income             Gross Income                  Sources of income            Gross Income
                                                     Check all that apply.         (before deductions and        Check all that apply.        (before deductions and
                                                                                   exclusions)                                                exclusions)


     From January 1 of current year until the
                                                    ✔ Wages, commissions,
                                                    ❑                                                           ✔ Wages, commissions,
                                                                                                                ❑
                                                        bonuses, tips                        $194,168.50            bonuses, tips                         $15,215.21
     date you filed for bankruptcy:
                                                    ❑Operating a business                                       ❑Operating a business

     For last calendar year:                        ✔ Wages, commissions,
                                                    ❑                                                           ❑ Wages, commissions,
                                                        bonuses, tips                        $378,940.23            bonuses, tips
     (January 1 to December 31, 2017          )
                                       YYYY         ❑Operating a business                                       ❑Operating a business

     For the calendar year before that:             ✔ Wages, commissions,
                                                    ❑                                                           ✔ Wages, commissions,
                                                                                                                ❑
                                                        bonuses, tips                        $272,013.66            bonuses, tips                         $32,880.99
     (January 1 to December 31, 2016          )
                                       YYYY         ❑Operating a business                                       ❑Operating a business

 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
    payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
    have income that you received together, list it only once under Debtor 1.
    List each source and the gross income from each source separately. Do not include income that you listed in line 4.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

                                                     Debtor 1                                                    Debtor 2

                                                     Sources of income             Gross income from each        Sources of income            Gross Income from each
                                                     Describe below.               source                        Describe below.              csoure
                                                                                   (before deductions and                                     (before deductions and
                                                                                   exclusions)                                                exclusions)


     From January 1 of current year until the
     date you filed for bankruptcy:




     For last calendar year:
     (January 1 to December 31, 2017          )
                                       YYYY




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                              First Name             Middle Name              Last Name



     For the calendar year before that:
     (January 1 to December 31, 2016          )
                                      YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy

 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
              individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

              ❑No. Go to line 7.
              ❑Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                         payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

    ✔Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑No. Go to line 7.
              ✔Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
              ❑
                         payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                         this bankruptcy case.



                                                                 Dates of            Total amount paid            Amount you still owe          Was this payment for…
                                                                 payment

                                                                                                                                               ❑Mortgage
                Chrysler Financial/TD Auto Finance
                Creditor's Name
                                                                 Monthly                            $946.25                   $48,000.00
                                                                                                                                               ✔ Car
                                                                                                                                               ❑
                Po Box 9223                                                                                                                    ❑Credit card
                Number     Street
                                                                                                                                               ❑Loan repayment
                Farmington Hills, MI 48333                                                                                                     ❑Suppliers or vendors
                                                                                                                                               ❑Other
                City                  State       ZIP Code



                                                                                                                                               ✔ Mortgage
                                                                                                                                               ❑
                Harbin, Billy & Sophia                           Monthly                          $2,278.00                  $350,000.00
                Creditor's Name                                                                                                                ❑Car
                6728 Sylvan Woods Dr                                                                                                           ❑Credit card
                Number     Street
                                                                                                                                               ❑Loan repayment
                Sanford, FL 32771                                                                                                              ❑Suppliers or vendors
                                                                                                                                               ❑Other
                City                  State       ZIP Code



                                                                                                                                               ✔ Mortgage
                                                                                                                                               ❑
                DC & EK Holdings, LLC                            Monthly                          $4,646.56                  $374,500.00
                Creditor's Name                                                                                                                ❑Car
                PO Box 940867                                                                                                                  ❑Credit card
                Number     Street
                                                                                                                                               ❑Loan repayment
                Maitland, FL 32794                                                                                                             ❑Suppliers or vendors
                                                                                                                                               ❑Other
                City                  State       ZIP Code




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                                                                                                                                             ✔ Mortgage
                                                                                                                                             ❑
                 Wells Fargo Home Mor                           Monthly                          $2,531.95                 $330,000.00
                Creditor's Name                                                                                                              ❑Car
                 8480 Stagecoach Cir                                                                                                         ❑Credit card
                Number      Street
                                                                                                                                             ❑Loan repayment
                 Frederick, MD 21701                                                                                                         ❑Suppliers or vendors
                                                                                                                                             ❑Other
                City                   State     ZIP Code



 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
    officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
    proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.


                                                            Dates of           Total amount paid      Amount you still owe      Reason for this payment
                                                            payment



     Insider's Name


     Number      Street




     City                      State      ZIP Code




     Insider's Name


     Number      Street




     City                      State      ZIP Code



 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
    Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.


                                                            Dates of           Total amount paid      Amount you still owe      Reason for this payment
                                                            payment                                                             Include creditor’s name



     Insider's Name


     Number      Street




     City                      State      ZIP Code



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                                 First Name               Middle Name             Last Name




     Insider's Name


     Number        Street




     City                            State    ZIP Code



 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
    disputes.

    ❑No
    ✔Yes. Fill in the details.
    ❑


                                                          Nature of the case                         Court or agency                               Status of the case

                                                          Commercial Lease
     Case title        Everbank Commercial
                       Finance, Inc. vs. C&C
                                                                                                    Ninth Judicial Circuit                        ❑Pending
                                                                                                                                                  ❑On appeal
                                                                                                    Court Name
                       Corp Holding Group, Inc.
                                                                                                    425 N Orange Avenue
                                                                                                    Number       Street
                                                                                                                                                  ✔Concluded
                                                                                                                                                  ❑
     Case number 2010-CA-24370-O
                                                                                                    Orlando, FL 32801
                                                                                                    City                     State     ZIP Code


     Case title        Murphy vs. Catherine
                       Ospina
                                                                                                    Miami- Dade County                            ❑Pending
                                                                                                                                                  ❑On appeal
                                                                                                    Court Name

     Case number 2012-13855-SP-05                                                                   Clerk of Court
                                                                                                                                                  ✔Concluded
                                                                                                                                                  ❑
                                                                                                    73 W. Flagler Street
                                                                                                    Number       Street
                                                                                                    Miami, FL 33130
                                                                                                    City                     State     ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     ✔No. Go to line 11.
     ❑
     ❑Yes. Fill in the information below.


                                                                         Describe the property                                  Date                Value of the property



            Creditor’s Name


            Number          Street                                      Explain what happened

                                                                        ❑Property was repossessed.
                                                                        ❑Property was foreclosed.
                                                                        ❑Property was garnished.
            City                              State      ZIP Code       ❑Property was attached, seized, or levied.


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                                First Name            Middle Name               Last Name


                                                                       Describe the property                              Date               Value of the property



              Creditor’s Name


              Number      Street                                       Explain what happened

                                                                      ❑Property was repossessed.
                                                                      ❑Property was foreclosed.
                                                                      ❑Property was garnished.
              City                           State   ZIP Code         ❑Property was attached, seized, or levied.

 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse to
     make a payment because you owed a debt?

     ✔ No
     ❑
     ❑Yes. Fill in the details.


                                                                 Describe the action the creditor took                     Date action was   Amount
                                                                                                                           taken
       Creditor’s Name


       Number         Street




                                                                Last 4 digits of account number: XXXX–
       City                          State      ZIP Code



 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed receiver,
     a custodian, or another official?

     ✔ No
     ❑
     ❑Yes

 Part 5: List Certain Gifts and Contributions



 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ❑No
    ✔Yes. Fill in the details for each gift.
    ❑
       Gifts with a total value of more than $600 per           Describe the gifts                                       Dates you gave      Value
       person                                                                                                            the gifts

       Father
      Person to Whom You Gave the Gift




      Number         Street


       ,
      City                            State     ZIP Code

      Person’s relationship to you


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                              First Name             Middle Name                Last Name


       Gifts with a total value of more than $600 per           Describe the gifts                                       Dates you gave    Value
       person                                                                                                            the gifts



      Person to Whom You Gave the Gift




      Number        Street



      City                            State   ZIP Code

      Person’s relationship to you


 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     ❑No
     ✔Yes. Fill in the details for each gift or contribution.
     ❑
        Gifts or contributions to charities that      Describe what you contributed                                  Date you             Value
        total more than $600                                                                                         contributed

        All Souls Catholic                                                                                           Monthly Tithe
       Charity’s Name




       Number        Street


        ,
       City                   State     ZIP Code



 Part 6: List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

     ✔ No
     ❑
     ❑Yes. Fill in the details.

        Describe the property you lost and         Describe any insurance coverage for the loss                      Date of your loss    Value of property lost
        how the loss occurred                      Include the amount that insurance has paid. List pending
                                                   insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about seeking
     bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     ❑No
     ✔Yes. Fill in the details.
     ❑


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                                First Name         Middle Name             Last Name


                                                   Description and value of any property transferred               Date payment or         Amount of payment
         Harper Ogden, LLC                                                                                         transfer was made
        Person Who Was Paid                        Attorney's Fee & Filing Fee
                                                                                                                   Jun 01, 2018                         $2,209.00
        260 N Tropical Trail 105
        Number      Street




         Merritt Island, FL 32953
        City                    State   ZIP Code


        Email or website address


        Person Who Made the Payment, if Not You


                                                   Description and value of any property transferred               Date payment or         Amount of payment
                                                                                                                   transfer was made
        Person Who Was Paid


        Number      Street




        City                    State   ZIP Code


        Email or website address


        Person Who Made the Payment, if Not You



17.   Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
      deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

      ❑No
      ✔Yes. Fill in the details.
      ❑
                                                   Description and value of any property transferred               Date payment or         Amount of payment
         National Tax Experts                                                                                      transfer was made
        Person Who Was Paid
                                                                                                                   03/18                                $2,000.00
        500 N Brand Blvd 450
        Number      Street




         Glendale, CA 91203
        City                    State   ZIP Code



18.   Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the ordinary
      course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.
      ❑No
      ✔Yes. Fill in the details.
      ❑




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                              First Name          Middle Name             Last Name


                                                   Description and value of property           Describe any property or payments received       Date transfer
                                                   transferred                                 or debts paid in exchange                        was made
        Neighbor                                  2006 Jeep Commander                         Trade for Hurricane Repairs and Cleanup
       Person Who Received Transfer
                                                                                                                                                09/2017

       Number       Street




        ,
       City                    State   ZIP Code
       Person's relationship to you None


       Person Who Received Transfer


       Number       Street




       City                    State   ZIP Code

       Person's relationship to you

 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
     often called asset-protection devices.)
     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                   Description and value of the property transferred                                            Date transfer was
                                                                                                                                                made


       Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
     transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
     funds, cooperatives, associations, and other financial institutions.

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                   Last 4 digits of account number          Type of account or        Date account was            Last balance
                                                                                            instrument                closed, sold, moved, or     before closing or
                                                                                                                      transferred                 transfer

       Name of Financial Institution
                                                   XXXX–                                  ❑Checking
                                                                                          ❑Savings
       Number       Street
                                                                                          ❑Money market
                                                                                          ❑Brokerage
                                                                                          ❑Other
       City                   State    ZIP Code




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                              First Name             Middle Name               Last Name



       Name of Financial Institution
                                                      XXXX–                                      ❑Checking
                                                                                                 ❑Savings
       Number       Street
                                                                                                 ❑Money market
                                                                                                 ❑Brokerage
                                                                                                 ❑Other
       City                   State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other valuables?

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                         Who else had access to it?                      Describe the contents                            Do you still have
                                                                                                                                                          it?

                                                                                                                                                         ❑No
       Name of Financial Institution                  Name
                                                                                                                                                         ❑Yes

       Number       Street                            Number       Street



                                                      City                   State    ZIP Code

       City                   State    ZIP Code

 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                         Who else has or had access to it?               Describe the contents                            Do you still have
                                                                                                                                                          it?

                                                                                                                                                         ❑No
       Name of Storage Facility                       Name
                                                                                                                                                         ❑Yes

       Number       Street                            Number       Street



                                                      City                   State    ZIP Code

       City                   State    ZIP Code

 Part 9: Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

     ❑No
     ✔Yes. Fill in the details.
     ❑
                                                         Where is the property?                          Describe the property                            Value




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                              First Name              Middle Name              Last Name


                                                                                                         2013 Chevy Captiva
        David Rodriguez                                                                                                                                                  $0.00
       Owner's Name
                                                       Number       Street


       Number       Street
                                                         ,
                                                       City                   State    ZIP Code

        ,
       City                    State   ZIP Code

                                                                                                         2004 Lincoln Town Car
        Cristina Romero                                                                                                                                                  $0.00
       Owner's Name
                                                       Number       Street


       Number       Street
                                                         ,
                                                       City                   State    ZIP Code

        ,
       City                    State   ZIP Code

                                                                                                         Pontoon Boat
        Julian (neighbor)                                                                                                                                                $0.00
       Owner's Name
                                                       Number       Street


       Number       Street
                                                         ,
                                                       City                   State    ZIP Code

        ,
       City                    State   ZIP Code

                                                                                                         Tractor
        Cory                                                                                                                                                             $0.00
       Owner's Name
                                                       Number       Street


       Number       Street
                                                         ,
                                                       City                   State    ZIP Code

        ,
       City                    State   ZIP Code

                                                                                                         Forklift
        Steven (caretaker)                                                                                                                                               $0.00
       Owner's Name
                                                       Number       Street


       Number       Street
                                                         ,
                                                       City                   State    ZIP Code

        ,
       City                    State   ZIP Code


 Part 10: Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
     or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
     wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
     including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
     contaminant, or similar term.
 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.


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                                First Name             Middle Name                   Last Name



 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                         Governmental unit                             Environmental law, if you know it               Date of notice


        Name of site                                   Governmental unit



        Number       Street                            Number       Street


                                                       City                  State    ZIP Code


        City                    State    ZIP Code


25.   Have you notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                         Governmental unit                             Environmental law, if you know it               Date of notice


        Name of site                                   Governmental unit



        Number       Street                            Number       Street


                                                       City                  State    ZIP Code


        City                    State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                         Court or agency                               Nature of the case                              Status of the case


        Case title
                                                       Court Name
                                                                                                                                                       ❑Pending
                                                                                                                                                       ❑On appeal
                                                                                                                                                       ❑Concluded
                                                       Number       Street


        Case number
                                                       City                  State    ZIP Code


 Part 11: Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
            ❑
            ❑ A partner in a partnership
            ❑ An officer, director, or managing executive of a corporation
            ❑ An owner of at least 5% of the voting or equity securities of a corporation
      ❑No. None of the above applies. Go to Part 12.
      ✔Yes. Check all that apply above and fill in the details below for each business.
      ❑


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                              First Name              Middle Name               Last Name


                                                          Describe the nature of the business                        Employer Identification number
        Doc's Choice LLC                                                                                             Do not include Social Security number or ITIN.
        Name
                                                       Holding Company for Business Property
                                                                                                                      EIN:           –
        316 Groveland St
        Number      Street
                                                          Name of accountant or bookkeeper                           Dates business existed


        Orlando, FL 32804                                                                                             From 1/13/2014          To
        City                   State    ZIP Code

                                                          Describe the nature of the business                        Employer Identification number
        Designer Smiles Dental Lab LLC                                                                               Do not include Social Security number or ITIN.
        Name

                                                                                                                      EIN:           –
        316 Groveland St
        Number      Street
                                                          Name of accountant or bookkeeper                           Dates business existed

                                                                                                                      From Nov 11, 2011 To Sep 26, 2014
        Orlando, FL 32804
        City                   State    ZIP Code

                                                          Describe the nature of the business                        Employer Identification number
        C.J.R. Holdings LLC                                                                                          Do not include Social Security number or ITIN.
        Name

                                                                                                                      EIN:           –
        205 Robin Lee Rd
        Number      Street
                                                          Name of accountant or bookkeeper                           Dates business existed

                                                                                                                      From 12/30/2006         To 9/26/2014
        Oviedo, FL 32765
        City                   State    ZIP Code


 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors, or other
     parties.

     ✔ No
     ❑
     ❑Yes. Fill in the details below.
                                                          Date issued



        Name                                           MM / DD / YYYY



        Number      Street




        City                   State    ZIP Code


 Part 12: Sign Below




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 Debtor 2                  Maria                C                       Ospina-Arbelaez                              6:18-bk-03304
                           First Name            Middle Name            Last Name



    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
    correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
    can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



    ✘                      /s/ Diego L Ospina                        ✘                 /s/ Maria C Ospina-Arbelaez
        Signature of Diego L Ospina, Debtor 1                            Signature of Maria C Ospina-Arbelaez, Debtor 2


         Date 06/29/2018                                                 Date 06/29/2018




    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑Yes
    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
    ❑Yes. Name of person                                                                     .       Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                     Declaration, and Signature (Official Form 119).




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 14
                                  Case 6:19-bk-05155-KSJ                       Doc 14         Filed 06/29/18               Page    75 of 86
                                                                                                                            Check as directed in lines 17 and 21:
 Fill in this information to identify your case:
                                                                                                                            According to the calculations required by this
  Debtor 1                   Diego                   L                  Ospina                                              Statement:

                                                                                                                            ❑1. Disposable income is not determined
                             First Name            Middle Name          Last Name

  Debtor 2                   Maria                   C                  Ospina-Arbelaez                                        under 11 U.S.C. § 1325(b)(3).
  (Spouse, if filing)        First Name            Middle Name          Last Name                                           ✔2. Disposable income is determined
                                                                                                                            ❑
                                                                                                                               under 11 U.S.C. § 1325(b)(3).
  United States Bankruptcy Court for the:                        Middle District of Florida
                                                                                                                            ❑3. The commitment period is 3 years.
                                                                                                                            ✔4. The commitment period is 5 years.
  Case number                        6:18-bk-03304
  (if known)                                                                                                                ❑
                                                                                                                            ❑Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known).



 Part 1: Calculate Your Average Monthly Income

 1.   What is your marital and filing status? Check one only.
      ❑Not married. Fill out Column A, lines 2-11.
      ✔ Married. Fill out both Columns A and B, lines 2-11.
      ❑
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
        case.11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
        of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
        income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If
        you have nothing to report for any line, write $0 in the space.
                                                                                                                Column A                Column B
                                                                                                                Debtor 1                Debtor 2 or
                                                                                                                                        non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                    $40,537.42                    $2,919.87
    payroll deductions).

 3. Alimony and maintenance payments. Do not include payments from a spouse.                                                 $0.00                      $0.00


 4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and roommates. Do not
    include payments from a spouse. Do not include payments you listed on line 3.                                            $0.00                      $0.00


 5. Net income from operating a business, profession, or
    farm                                                                 Debtor 1         Debtor 2
                                                                              $0.00            $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                    -         $0.00   -        $0.00

                                                                              $0.00            $0.00   Copy
      Net monthly income from a business, profession, or farm                                                                $0.00                      $0.00
                                                                                                       here →


 6. Net income from rental and other real property                       Debtor 1         Debtor 2
                                                                              $0.00            $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                    -         $0.00   -        $0.00

                                                                              $0.00            $0.00   Copy
      Net monthly income from rental or other real property                                                                  $0.00                      $0.00
                                                                                                       here →



 Official Form 122C-1                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                  page 1
Debtor 1
                                            Case 6:19-bk-05155-KSJ
                                         Diego         L
                                                                                                            Doc 14
                                                                                                           Ospina
                                                                                                                                   Filed 06/29/18                          Page  76 of 86
                                                                                                                                                                            Case number (if known)
Debtor 2                                 Maria                              C                              Ospina-Arbelaez                                                       6:18-bk-03304
                                         First Name                         Middle Name                     Last Name
                                                                                                                                                       Column A                             Column B
                                                                                                                                                       Debtor 1                             Debtor 2 or
                                                                                                                                                                                            non-filing spouse
     7. Interest, dividends, and royalties                                                                                                                                  $0.00                         $0.00
     8. Unemployment compensation                                                                                                                                           $0.00                         $0.00
           Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here: ..................................................           ↓
           For you....................................................................................                                $0.00
           For your spouse......................................................................                                      $0.00
     9. Pension or retirement income. Do not include any amount received that was a benefit                                                                                 $0.00                         $0.00
        under the Social Security Act.

     10. Income from all other sources not listed above. Specify the source and amount. Do
         not include any benefits received under the Social Security Act or payments received as
         a victim of a war crime, a crime against humanity, or international or domestic terrorism.
         If necessary, list other sources on a separate page and put the total below.




    Total amounts from separate pages, if any.                                                                                                        +                                         +
                                                                                                                                                                   $40,537.42                   +    $2,919.87      =      $43,457.29
     11. Calculate your total average monthly income. Add lines 2 through 10 for each
         column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                                        Total average
                                                                                                                                                                                                                        monthly income



Part 2: Determine How to Measure Your Deductions from Income


     12. Copy your total average monthly income from line 11. .................................................................................
                                                                                                                                                                                                                             $43,457.29

     13. Calculate the marital adjustment. Check one:

   ❑You are not married. Fill in 0 below.
   ✔You are married and your spouse is filing with you. Fill in 0 below.
   ❑
   ❑You are married and your spouse is not filing with you.
      Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
      dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or your dependents.
      Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
      adjustments on a separate page.
      If this adjustment does not apply, enter 0 below.




                                                                                                                                           +

      Total...........................................................................................                                                          $0.00
                                                                                                                                                                               Copy here. →
                                                                                                                                                                                                                -              $0.00

                                                                                                                                                                                                                            $43,457.29
     14. Your current monthly income. Subtract the total in line 13 from line 12.


     15. Calculate your current monthly income for the year. Follow these steps:


      15a. Copy line 14 here →...............................................................................................................................................................                                $43,457.29

              Multiply line 15a by 12 (the number of months in a year).                                                                                                                                             x 12
                                                                                                                                                                                                                           $521,487.48
      15b. The result is your current monthly income for the year for this part of the form.......................................................................


Official Form 122C-1                                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                           page 2
Debtor 1
                                             Case 6:19-bk-05155-KSJ
                                          Diego         L
                                                                                                                  Doc 14
                                                                                                                  Ospina
                                                                                                                                           Filed 06/29/18                           Page  77 of 86
                                                                                                                                                                                     Case number (if known)
Debtor 2                                  Maria                             C                                     Ospina-Arbelaez                                                          6:18-bk-03304
                                         First Name                         Middle Name                            Last Name


      16. Calculate the median family income that applies to you. Follow these steps:

        16a. Fill in the state in which you live.
        16b. Fill in the number of people in your household.                                                                              4

        16c. Fill in the median family income for your state and size of household. ....................................................................................                                              $74,512.00
               To find a list of applicable median income amounts, go online using the link specified in the separate
               instructions for this form. This list may also be available at the bankruptcy clerk’s office.

      17. How do the lines compare?

        17a.     ❑      Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C. §
                        1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).
        17b.     ✔
                 ❑      Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. § 1325(b)(3). Go
                        to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2). On line 39 of that form, copy your current monthly income
                        from line 14 above.
Part 3: Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


      18. Copy your total average monthly income from line 11. .............................................................................................................                                          $43,457.29


      19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that calculating
          the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy the amount from line
          13.
   19a. If the marital adjustment does not apply, fill in 0 on line 19a. .....................................................................................................                                 -           $0.00
   19b. Subtract line 19a from line 18.                                                                                                                                                                               $43,457.29


      20. Calculate your current monthly income for the year. Follow these steps.

   20a. Copy line 19b.............................................................................................................................................................................                    $43,457.29
           Multiply by 12 (the number of months in a year).                                                                                                                                                   x 12
                                                                                                                                                                                                                     $521,487.48
   20b. The result is your current monthly income for the year for this part of the form.

                                                                                                                                                                                                                      $74,512.00
   20c. Copy the median family income for your state and size of household from line 16c. ...............................................................

      21. How do the lines compare?

   ❑     Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
         The commitment period is 3 years. Go to Part 4.
   ✔
   ❑     Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
         check box 4, The commitment period is 5 years. Go to Part 4.
Part 4: Sign Below



      By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


           X /s/ Diego L Ospina                                                                                                            X /s/ Maria C Ospina-Arbelaez
                  Signature of Debtor 1                                                                                                           Signature of Debtor 2

                 Date             06/29/2018                                                                                                    Date              06/29/2018
                               MM/DD/YYYY                                                                                                                    MM/DD/YYYY

      If you checked 17a, do NOT fill out or file Form 122C–2.

      If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1                                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                    page 3
                                 Case 6:19-bk-05155-KSJ                      Doc 14           Filed 06/29/18            Page 78 of 86
Fill in this information to identify your case:

 Debtor 1                   Diego                   L                 Ospina
                            First Name            Middle Name        Last Name

 Debtor 2                   Maria                   C                 Ospina-Arbelaez
 (Spouse, if filing)        First Name            Middle Name        Last Name

 United States Bankruptcy Court for the:                         Middle District of Florida

 Case number                        6:18-bk-03304                                                                                         ❑Check if this is an
 (if known)                                                                                                                                  amended filing


Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                                       04/16
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period (Official
Form 122C–1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known).



Part 1: Calculate Your Deductions from Your Income


 The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the questions in lines
 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This information may also be available at the
 bankruptcy clerk’s office.


 Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual expenses if they are higher
 than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form 122C–1, and do not deduct any amounts that you
 subtracted from your spouse’s income in line 13 of Form 122C–1.



 If your expenses differ from month to month, enter the average expense.



 Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




  5. The number of people used in determining your deductions from income
      Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus the number of
                                                                                                                                            4
      any additional dependents whom you support. This number may be different from the number of people in your household.




    National
    Standards                You must use the IRS National Standards to answer the questions in lines 6-7.




  6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill                                       $1,694.00
     in the dollar amount for food, clothing, and other items.



  7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in the dollar
     amount for out-of-pocket health care. The number of people is split into two categories─people who are under 65 and people who are 65 or
     older─because older people have a higher IRS allowance for health care costs. If your actual expenses are higher than this IRS amount, you
     may deduct the additional amount on line 22.




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                           page 1
Debtor 1
                                            Case 6:19-bk-05155-KSJ
                                         Diego         L
                                                                                                               Doc 14
                                                                                                              Ospina
                                                                                                                                     Filed 06/29/18                   Page  79 of 86
                                                                                                                                                                       Case number (if known)
Debtor 2                                 Maria                            C                                   Ospina-Arbelaez                                              6:18-bk-03304
                                         First Name                       Middle Name                          Last Name



        People who are under 65 years of age

        7a. Out-of-pocket health care allowance per person                                                                $52.00
        7b. Number of people who are under 65                                                                  X          4
                                                                                                                                                            Copy
        7c. Subtotal. Multiply line 7a by line 7b.                                                                      $208.00                                              $208.00
                                                                                                                                                            here →

        People who are 65 years of age or older

        7d. Out-of-pocket health care allowance per person                                                              $114.00
        7e. Number of people who are 65 or older                                                               X          0
                                                                                                                                                            Copy       +           $0.00
        7f.     Subtotal. Multiply line 7d by line 7e.                                                                      $0.00
                                                                                                                                                            here →

     7g.      Total. Add lines 7c and 7f. ...............................................................................................................                    $208.00       Copy here →....   $208.00


     Local
     Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.


Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
bankruptcy purposes into two parts:

     Housing and utilities – Insurance and operating expenses

     Housing and utilities – Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

8.     Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in                                                                                   $655.00
       the dollar amount listed for your county for insurance and operating expenses.
9.     Housing and utilities – Mortgage or rent expenses:
        9a. Using the number of people you entered in line 5, fill in the dollar amount                                                                               $1,400.00
            listed for your county for mortgage or rent expenses.
        9b. Total average monthly payment for all mortgages and other debts secured by
            your home.

              To calculate the total average monthly payment, add all amounts that are
              contractually due to each secured creditor in the 60 months after you file for
              bankruptcy. Next divide by 60.

                 Name of the creditor                                                                  Average monthly
                                                                                                       payment

               Wells Fargo Bank, NA                                                                                       $286.00
               Wells Fargo Home Mor                                                                                     $2,937.00

                                                                                                           +
                                                                                                                                              Copy                                 Repeat this amount
                            9b. Total average monthly payment                                                    $3,223.00                                    –      $3,223.00
                                                                                                                                              here →                               on line 33a.

       9c. Net mortgage or rent expense.
           Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent expense). If this
                                                                                                                                                                           $0.00      Copy here →.....         $0.00
           number is less than $0, enter $0.

10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                                                       $0.00
    the calculation of your monthly expenses, fill in any additional amount you claim.
           Explain
           why:




Official Form 122C-2                                                                  Chapter 13 Calculation of Your Disposable Income                                                                        page 2
Debtor 1
                                  Case 6:19-bk-05155-KSJ
                                Diego        L
                                                                                     Doc 14
                                                                                    Ospina
                                                                                                         Filed 06/29/18        Page  80 of 86
                                                                                                                                Case number (if known)
Debtor 2                        Maria                   C                           Ospina-Arbelaez                                 6:18-bk-03304
                                First Name               Middle Name                 Last Name



 11.   Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
       ❑    0. Go to line 14.
       ❑    1. Go to line 12.
       ✔
       ❑    2 or more. Go to line 12.

 12.   Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating expenses, fill in                $392.00
       the Operating Costs that apply for your Census region or metropolitan statistical area.

 13.   Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
       You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
       more than two vehicles.


           Vehicle 1      Describe Vehicle 1:



       13a. Ownership or leasing costs using IRS Local Standard.......................................            $497.00

       13b. Average monthly payment for all debts secured by Vehicle 1.
             Do not include costs for leased vehicles.
             To calculate the average monthly payment here and on line 13e, add
             all amounts that are contractually due to each secured creditor in
             the 60 months after you file for bankruptcy. Then divide by 60.
              Name of each creditor for Vehicle 1                       Average monthly
                                                                        payment



                                                                        +
                                                                                                         Copy                           Repeat this amount
                                  Total average monthly payment                                                   –
                                                                                                         here →                         on line 33b.
       13c. Net Vehicle 1 ownership or lease expense
                                                                                                                       $497.00          Copy net Vehicle 1
             Subtract line 13b from line 13a. If this number is less than $0, enter $0.............                                     expense here →       $497.00




           Vehicle 2      Describe Vehicle 2:



       13d. Ownership or leasing costs using IRS Local Standard.......................................            $497.00


       13e. Average monthly payment for all debts secured by Vehicle 2.
             Do not include costs for leased vehicles.
              Name of each creditor for Vehicle 2                       Average monthly
                                                                        payment



                                                                        +
                                                                                                         Copy                           Repeat this amount
                                  Total average monthly payment                                                   –
                                                                                                         here →                         on line 33c.
        13f. Net Vehicle 2 ownership or lease expense
                                                                                                                            $0.00       Copy net Vehicle 2
              Subtract line 13e from 13d. If this number is less than $0, enter $0.............                                         expense here →         $0.00


 14.   Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public Transportation
       expense allowance regardless of whether you use public transportation.


 15.   Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also deduct a public               $0.00
       transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim more than the IRS Local Standard
       for Public Transportation.

Official Form 122C-2                                              Chapter 13 Calculation of Your Disposable Income                                                     page 3
Debtor 1
                                  Case 6:19-bk-05155-KSJ
                               Diego         L
                                                                                Doc 14
                                                                               Ospina
                                                                                                      Filed 06/29/18                           Page  81 of 86
                                                                                                                                                Case number (if known)
Debtor 2                       Maria                  C                        Ospina-Arbelaez                                                       6:18-bk-03304
                               First Name             Middle Name               Last Name


  Other Necessary                In addition to the expense deductions listed above, you are allowed your monthly expenses for the
  Expenses                       following IRS categories.

16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-employment taxes, social                                 $12,850.13
    security taxes, and Medicare taxes. You may include the monthly amount withheld from your pay for these taxes. However, if you expect to receive a
    tax refund, you must divide the expected refund by 12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
    Do not include real estate, sales, or use taxes.

17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions, union dues, and uniform                                 $1,303.71
    costs.
     Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing together, include                                     $46.68
    payments that you make for your spouse’s term life insurance.
     Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other
     than term.

19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative agency, such as spousal                                       $0.00
    or child support payments.
     Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

20. Education: The total monthly amount that you pay for education that is either required:                                                                                           $0.00
           as a condition for your job, or
           for your physically or mentally challenged dependent child if no public education is available for similar services.

21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                                                             $0.00
    Do not include payments for any elementary or secondary school education.

22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is required for the health                                       $0.00
    and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health savings account. Include only the amount that is
    more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for you and your                                         +         $0.00
    dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone service, to the extent necessary for
    your health and welfare or that of your dependents or for the production of income, if it is not reimbursed by your employer.
     Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment expenses, such as those
     reported on line 5 of Form 122C-1, or any amount you previously deducted.

24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                             $17,646.52
    Add lines 6 through 23.

  Additional Expense             These are additional deductions allowed by the Means Test.
  Deductions                     Note: Do not include any expense allowances listed in lines 6-24.

25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health insurance, disability
    insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your dependents.

      Health insurance                                            $2,312.76
      Disability insurance                                          $569.16
      Health savings account                              +         $575.00
      Total                                                       $3,456.92      Copy total here → ........................................................................        $3,456.92
     Do you actually spend this total amount?

     ❑No. How much do you actually spend?
     ✔Yes
     ❑
26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will continue to pay for the                                            $0.00
    reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your household or member of your immediate
    family who is unable to pay for such expenses. These expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C.
    § 529A(b).
27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of you and your family                                        $0.00
    under the Family Violence Prevention and Services Act or other federal laws that apply.
     By law, the court must keep the nature of these expenses confidential.


Official Form 122C-2                                           Chapter 13 Calculation of Your Disposable Income                                                                           page 4
Debtor 1
                                         Case 6:19-bk-05155-KSJ
                                     Diego          L
                                                                                                         Doc 14
                                                                                                         Ospina
                                                                                                                                Filed 06/29/18         Page  82 of 86
                                                                                                                                                        Case number (if known)
Debtor 2                             Maria                           C                                   Ospina-Arbelaez                                   6:18-bk-03304
                                     First Name                       Middle Name                         Last Name



28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
     If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8, then fill in the excess
     amount of home energy costs                                                                                                                                                     $0.00
     You must give your case trustee documentation of your actual expenses, and you must show that the additional amount claimed is reasonable and
     necessary.

29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $160.42* per child) that you pay                                          $0.00
    for your dependent children who are younger than 18 years old to attend a private or public elementary or secondary school.
     You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
     necessary and not already accounted for in lines 6-23.
     * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.

30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher than the combined food                                       $0.00
    and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the food and clothing allowances in the IRS
    National Standards.
     To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for this form. This chart
     may also be available at the bankruptcy clerk’s office.
     You must show that the additional amount claimed is reasonable and necessary.

31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial instruments to a religious +                               $0.00
    or charitable organization. 11 U.S.C. § 548(d)3 and (4).
     Do not include any amount more than 15% of your gross monthly income.

32. Add all of the additional expense deductions.                                                                                                                                $3,456.92
    Add lines 25 through 31.


 Deductions for Debt Payment


33. For debts that are secured by an interest in property that you own, including home mortgages,
    vehicle loans, and other secured debt, fill in lines 33a through 33e.
     To calculate the total average monthly payment, add all amounts that are contractually due to each
     secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.
                                                                                                                                              Average monthly
                                                                                                                                              payment

      Mortgages on your home

      33a. Copy line 9b here .....................................................................................................→                $3,223.00

      Loans on your first two vehicles

      33b. Copy line 13b here ..................................................................................................→

      33c. Copy line 13e here ..................................................................................................→

      33d. List other secured debts:

              Name of each creditor for other                                   Identify property that                        Does
              secured debt                                                      secures the debt                              payment
                                                                                                                              include taxes
                                                                                                                              or insurance?
                                                                                                                             ✔No
                                                                                                                             ❑
            Newport Miami Beach Condo Assoc                                     Miami Beach, FL                              ❑Yes
                                                                                                                             ✔No
                                                                                                                             ❑
            Palace Elite                                                        Cancun                                       ❑Yes
                                                                                                                             ❑No
            Total of separate pages.                                                                                         ❑Yes             +    $1,804.00

                                                                                                                                                   $5,027.00       Copy total
            33e. Total average monthly payment. Add lines 33a through 33d. ...................................                                                     here→         $5,027.00


Official Form 122C-2                                                             Chapter 13 Calculation of Your Disposable Income                                                        page 5
Debtor 1
                                           Case 6:19-bk-05155-KSJ
                                        Diego         L
                                                                                                                Doc 14
                                                                                                               Ospina
                                                                                                                                        Filed 06/29/18                Page  83 of 86
                                                                                                                                                                       Case number (if known)
Debtor 2                                Maria                             C                                    Ospina-Arbelaez                                               6:18-bk-03304
                                        First Name                        Middle Name                           Last Name



 34.   Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for your support or the
       support of your dependents?


       ❑No. Go to line 35.
       ✔Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep possession of your property
       ❑
            (called the cure amount). Next, divide by 60 and fill in the information below.

              Name of the creditor                                            Identify property that                        Total cure                          Monthly cure amount
                                                                              secures the debt                              amount
              Wells Fargo Bank, NA                                            205 Robin Lee Road                                $1,944.00          ÷ 60 =                    32.40
                                                                              Oviedo, FL 32765
                                                                                                                                                   ÷ 60 =
                                                                                                                                                   ÷ 60 =              +
                                                                                                                                                                                             Copy
                                                                                                                                                        Total                 $32.40         total
                                                                                                                                                                                             here →     $32.40
 35.   Do you owe any priority claims—such as a priority tax, child support, or alimony—that are past due as of the filing date of your
       bankruptcy case? 11 U.S.C. § 507.

       ✔ No. Go to line 36.
       ❑
       ❑Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing priority claims, such as those you
                   listed in line 19.

                    Total amount of all past-due priority claims..................................................................                                                            ÷ 60

 36.   Projected monthly Chapter 13 plan payment                                                                                                                  $16,100.00

            Current multiplier for your district as stated on the list issued by the Administrative Office of the United
            States Courts (for districts in Alabama and North Carolina) or by the Executive Office for United States
            Trustees (for all other districts).
            To find a list of district multipliers that includes your district, go online using the link specified in the
            separate instructions for this form. This list may also be available at the bankruptcy clerk’s office.                                                X        10.00 %


                                                                                                                                                                                          Copy
                                                                                                                                                                      $1,610.00           total
            Average monthly administrative expense
                                                                                                                                                                                          here →      $1,610.00


 37.   Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                                                           $6,669.40



Total Deductions from Income


 38.   Add all of the allowed deductions.

       Copy line 24, All of the expenses allowed under IRS expense allowances ....................................                                                           $17,646.52


       Copy line 32, All of the additional expense deductions....................................................................                                             $3,456.92


       Copy line 37, All of the deductions for debt payment.......................................................................                                    +       $6,669.40
                                                                                                                                                                               Copy
                                                                                                                                                                $27,772.84     total                  $27,772.84
       Total deductions..............................................................................................................................                          here →




Official Form 122C-2                                                                  Chapter 13 Calculation of Your Disposable Income                                                                       page 6
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                                      Case 6:19-bk-05155-KSJ
                                    Diego        L
                                                                                               Doc 14
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                                                                                                                                                 Case number (if known)
Debtor 2                            Maria                      C                              Ospina-Arbelaez                                         6:18-bk-03304
                                   First Name                   Middle Name                    Last Name


Part 2: Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)


39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13 Statement of
    Your Current Monthly Income and Calculation of Commitment Period.                                                               ................................................................   $43,457.29


40. Fill in any reasonably necessary income you receive for support for dependent children. The                                                         $0.00
    monthly average of any child support payments, foster care payments, or disability payments for a
    dependent child, reported in Part I of Form 122C-1, that you received in accordance with applicable
    nonbankruptcy law to the extent reasonably necessary to be expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your employer withheld                                           $0.00
    from wages as contributions for qualified retirement plans, as specified in 11 U.S.C. § 541(b)(7) plus
    all required repayments of loans from retirement plans, as specified in 11 U.S.C. § 362(b)(19).

42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here .... →                                                   $27,772.84


43. Deduction for special circumstances. If special circumstances justify additional expenses and you
    have no reasonable alternative, describe the special circumstances and their expenses. You must give
    your case trustee a detailed explanation of the special circumstances and documentation for the
    expenses.

          Describe the special circumstances                                         Amount of expense




                                                                                          +

                                                                                                       $0.00      Copy here
                                                                      Total                                       →                 +               $0.00


44. Total adjustments. Add lines 40 through 43........................................................................                        $27,772.84                     Copy here → –               $27,772.84




45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                                                           $15,684.45



Part 3: Change in Income or Expenses


46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have changed or
    are virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be open, fill
    in the information below. For example, if the wages reported increased after you filed your petition, check 122C-1 in the first
    column, enter line 2 in the second column, explain why the wages increased, fill in when the increase occurred, and fill in
    the amount of the increase.

      Form               Line            Reason for change                                                                    Date of change              Increase or                     Amount of change
                                                                                                                                                          decrease?
     ❑122C-1                                                                                                                                              ❑Increase
     ❑122C-2                                                                                                                                              ❑Decrease
     ❑122C-1                                                                                                                                              ❑Increase
     ❑122C-2                                                                                                                                              ❑Decrease




Official Form 122C-2                                                      Chapter 13 Calculation of Your Disposable Income                                                                                      page 7
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                            Diego        L
                                                                            Doc 14
                                                                            Ospina
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                                                                                                                          Case number (if known)
Debtor 2                    Maria                  C                        Ospina-Arbelaez                                 6:18-bk-03304
                            First Name             Middle Name              Last Name


Part 4: Sign Below



     By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


           X /s/ Diego L Ospina                                                             X /s/ Maria C Ospina-Arbelaez
              Signature of Debtor 1                                                              Signature of Debtor 2

           Date     06/29/2018                                                              Date        06/29/2018
                  MM/DD/YYYY                                                                         MM/DD/YYYY




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                               Case 6:19-bk-05155-KSJ
                           Diego          L
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                                                                                                             Case number (if known)
Debtor 2                   Maria                C                   Ospina-Arbelaez                            6:18-bk-03304
                           First Name           Middle Name         Last Name




       Additional Page For 122C-2

33. 33d. Cont.
            Name of each creditor for other                    Identify property that secures the   Does             Average monthly
            secured debt                                       debt                                 payment          payment
                                                                                                    include taxes
                                                                                                    or insurance?
                                                                                                    ✔No
                                                                                                    ❑                          $917.00
           Chrysler Financial/TD Auto Finance                  2016 Dodge Ram (Lease)               ❑Yes
                                                                                                    ✔No
                                                                                                    ❑                          $320.00
           OneMain Financial                                   2014 Harley Davidson Softail         ❑Yes
                                                                                                    ✔No
                                                                                                    ❑
           DC & EK Holdings, LLC                               316 Groveland St Orlando, FL         ❑Yes
                                                               32804
                                                                                                    ✔No
                                                                                                    ❑                          $567.00
           Santander Consumer USA                              2014 Chevy Captiva                   ❑Yes
                                                                                                    ✔No
                                                                                                    ❑
           Everbank Commercial Finance, Inc.                                                        ❑Yes
           2002 NewTom Dental Volumetric
           Tomograph, model no: QR-DVT-9000, s/n:
           NT011147 and table (machine not properly
           stored)




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